12-12900-scc       Doc 275         Filed 08/03/12 Entered 08/03/12 17:58:02                   Main Document
                                               Pg 1 of 63




   UNITED STATES BANKRUPTCY COURT
   SOUTHERN DISTRICT OF NEW YORK

   In re:
                                                                   Chapter 11

   PATRIOT COAL CORPORATION, et al.,                               Case No. 12-12900 (SCC)

                                                                   (Jointly Administered)
   Debtors.1


             FINAL ORDER (I) AUTHORIZING DEBTORS (A) TO OBTAIN
          POST-PETITION FINANCING PURSUANT TO 11 U.S.C. §§ 105, 361,
           362, 364(c)(1), 364(c)(2), 364(c)(3), 364(d)(1) AND 364(e), AND (B) TO
         UTILIZE CASH COLLATERAL PURSUANT TO 11 U.S.C. § 363 AND
            (II) GRANTING ADEQUATE PROTECTION TO PRE-PETITION
        SECURED LENDERS PURSUANT TO 11 U.S.C. §§ 361, 362, 363 AND 364

             Upon the motion (the “Motion”), dated July 9, 2012, of Patriot Coal Corporation

   (the “Borrower”) and its affiliated debtors, each as debtor and debtor-in-possession

   (collectively, the “Debtors”), in the above-captioned cases (the “Cases”) pursuant to

   sections 105, 361, 362, 363(c)(2), 364(c)(1), 364(c)(2), 364(c)(3), 364(d)(1) and 364(e)

   of title 11 of the United States Code, 11 U.S.C. §§ 101, et seq. (the “Bankruptcy

   Code”), and Rules 2002, 4001 and 9014 of the Federal Rules of Bankruptcy Procedure

   (the “Bankruptcy Rules”) and the Local Bankruptcy Rules for the Southern District of

   New York, including Rule 4001-2 (the “SDNY Local Rules”), seeking, among other

   things:

                             (1)      authorization for the Borrower to obtain post-petition

                    financing (the “Financing”), and for all of the other Debtors (the


             1
              The Debtors are the entities listed on Schedule 1 attached to the Motion. The employer tax
   identification numbers and addresses for each of the Debtors are set forth in the Debtors’ chapter 11
   petitions.
12-12900-scc   Doc 275   Filed 08/03/12 Entered 08/03/12 17:58:02            Main Document
                                     Pg 2 of 63




               “Guarantors”) to guaranty the Borrower’s obligations in connection with

               the Financing, up to the aggregate principal amount of $802,000,000 (the

               actual available principal amount at any time being subject to those

               conditions set forth in the DIP Documents (as defined below)), consisting

               of (a) revolving credit loans in an amount not to exceed $125,000,000

               (“Revolving Credit Loan”), (b) a term loan in the amount of

               $375,000,000 (“Term Loan”, and together with the Revolving Credit

               Loan, the “First Out Facility”), and (c) a roll up (the “L/C Roll Up”) of

               obligations under the Pre-Petition Credit Agreement (as defined below) in

               respect of outstanding letters of credit, inclusive of any obligations as to

               reimbursement, renewal and extension of same (the “Roll Up Letters of

               Credit”) issued in the aggregate amount of approximately $302,000,000

               as of the Petition Date (“Second Out Facility”) from (i) Citibank, N.A.,

               as (x) Administrative Agent (as defined in the First Out DIP Credit

               Agreement (as defined below)) for itself and the other Revolving Lenders

               and Term Lenders (each as defined in the First Out DIP Credit

               Agreement), and (y) as Revolving Agent and as First Out Term Agent

               (each as defined in the Security Agreement (as defined below)) and in all

               of the foregoing capacities as the “First Out DIP Agent”) for the

               Revolving Lenders, Term Lenders, and the L/C Issuers (as defined in the

               First Out DIP Credit Agreement and, for purposes of this Order, the “First

               Out L/C Issuers”) (the foregoing parties collectively constituting the

                                            2
12-12900-scc   Doc 275      Filed 08/03/12 Entered 08/03/12 17:58:02        Main Document
                                        Pg 3 of 63




               “First Out DIP Lenders”) and (ii) Bank of America, N.A., as

               Administrative Agent and Collateral Agent (the “Second Out DIP

               Agent”) for itself and the other Second Out DIP Lenders and Rolled Up

               L/C Issuers (as defined below) under the DIP Credit Agreement (as

               defined below) (the “Second Out DIP Lenders”, together with the First

               Out DIP Lenders, the “DIP Lenders”), and the “Second Out DIP

               Agent”, together with the First Out DIP Agent, the “DIP Agents”), all to

               be arranged by Citigroup Global Markets Inc., Barclays Bank PLC, and

               Merrill Lynch, Pierce, Fenner & Smith Incorporated (the “Joint Lead

               Arrangers”);

                      (2)      authorization for the Debtors to execute and enter into the

               DIP Documents (as defined below) and to perform such other and further

               acts as may be required in connection with the DIP Documents;

                      (3)      authorization for the Debtors to grant security interests,

               liens, superpriority claims (including a superpriority administrative claim

               pursuant to section 364(c)(1) of the Bankruptcy Code and liens pursuant to

               sections 364(c)(2), 364(c)(3) and 364(d) of the Bankruptcy Code), and

               related protections to the DIP Lenders to secure all DIP Obligations (as

               defined below), in accordance with the provisions of this Order and as set

               forth in that certain Pledge, Security, and Intercreditor Agreement, dated

               as of July 9, 2012, by and between the Borrower, the Revolving Agent, the




                                             3
12-12900-scc   Doc 275      Filed 08/03/12 Entered 08/03/12 17:58:02         Main Document
                                        Pg 4 of 63




               First Out DIP Agent, and the Second Out DIP Agent (the “Security

               Agreement”), annexed hereto as Exhibit A;

                      (4)      authorization for the Debtors, simultaneously with the

               initial draw under the Financing, to immediately use proceeds of the

               Financing to: (a) repay in full in cash their obligations in respect of the

               Outstanding Swing Line Loan under the Pre-Petition Credit Agreement (as

               defined below); and (b) collateralize the Securitization Letters of Credit

               (as defined below) by issuing standby letters of credit under the Revolving

               Credit Loan (as defined below) or otherwise provide for such

               Securitization Letters of Credit in a manner satisfactory to the applicable

               issuing bank;

                      (5)      that the Court deem the Debtors’ obligations in respect of

               Roll Up Letters of Credit, Secured Cash Management Agreements (as

               defined in the Pre-Petition Credit Agreement) and Secured Hedge

               Agreements (as defined in the Pre-Petition Credit Agreement) to have

               been incurred under the applicable DIP Documents;

                      (6)      the granting of adequate protection to the Pre-Petition

               Credit Agreement Lenders (as defined below);

                      (7)      approval of certain stipulations by the Debtors with respect

               to the Pre-Petition Financing Agreements (as defined below) and the liens

               and security interests arising with respect thereto;




                                             4
12-12900-scc   Doc 275      Filed 08/03/12 Entered 08/03/12 17:58:02          Main Document
                                        Pg 5 of 63




                      (8)      authorization for the Debtors to use Cash Collateral (as

               defined below) in which the Pre-Petition Credit Agreement Lenders have

               an interest, and the granting of adequate protection to the Pre-Petition

               Credit Agreement Lenders with respect to, inter alia, such use of their

               Cash Collateral;

                      (9)      subject only to and effective upon entry of this final order

               granting the foregoing relief and such other relief as provided herein and

               in such final order (this “Final Order”) the limitation of the Debtors’ right

               to surcharge against collateral pursuant to section 506(c) of the

               Bankruptcy Code;

                      (10)     pursuant to Bankruptcy Rule 4001, that an interim hearing

               (the “Interim Hearing”) on the Motion be held before this Court to

               consider entry of the proposed interim order annexed to the Motion (the

               “Interim Order”) (a) authorizing the Borrower, on an interim basis, to

               forthwith borrow or obtain and/or maintain (as applicable) letters of credit

               from the DIP Lenders under the DIP Documents, up to an aggregate

               principal or face amount not to exceed (i) $125,000,000 under the

               Revolving Credit Loan, (ii) $250,000,000 under the Term Loan and

               (iii) $302,000,000 under the Second Out Facility, each such borrowing

               subject to any limitations under the DIP Documents, to (x) refinance the

               Pre-Petition Debt as set forth herein, (y) provide operating cash for the

               Debtors, and (z) provide working capital to the Debtors and the

                                             5
12-12900-scc    Doc 275      Filed 08/03/12 Entered 08/03/12 17:58:02            Main Document
                                         Pg 6 of 63




                  Guarantors (including payment of fees and expenses in connection with

                  the transactions contemplated by the DIP Documents), (b) authorizing the

                  Debtors’ use of Cash Collateral and all other collateral, and (c) granting

                  the adequate protection described herein; and

                         (11)    that this Court schedule a final hearing (the “Final

                  Hearing”) to be held no later than thirty (30) days from the date of the

                  entry of the Interim Order to consider entry of this Final Order authorizing

                  the balance of the borrowings and letter of credit issuances under the DIP

                  Documents on a final basis, as set forth in the Motion and the DIP

                  Documents.

          The Interim Hearing having been held by this Court on July 10, 2012, and this

   Court having entered the Interim Order on July 11, 2012.

          Due and appropriate notice of the Motion, the interim and final relief requested

   therein, the Interim Order, and the Final Hearing having been served by the Debtors on

   (a) the Office of the United States Trustee for the Southern District of New York (the

   “U.S. Trustee”); (b) those creditors holding the fifteen (15) largest secured claims

   against the Debtors’ estates on a consolidated basis; (c) those creditors holding the fifty

   (50) largest unsecured claims against the Debtors’ estates on a consolidated basis;

   (d) each of the DIP Agents and their attorneys; (e) the Pre-Petition Agent and its

   attorneys; (f) the Pre-Petition Securitization Administrator (as defined below); (g) each of

   the L/C Issuers under the Pre-Petition Credit Agreement (as defined therein); (h) the Pre-

   Petition Secured Lenders (as defined below); (i) the Internal Revenue Service; (j) all

                                                6
12-12900-scc    Doc 275     Filed 08/03/12 Entered 08/03/12 17:58:02           Main Document
                                        Pg 7 of 63




   lessors under the Real Property Leases (as defined in the First Out DIP Credit

   Agreement); (k) the Securities and Exchange Commission; (l) the United States

   Attorney’s Office for the Southern District of New York; (m) the United States

   Environmental Protection Agency; and, with respect to the Final Hearing only,

   (n) counsel to the statutory committee of unsecured creditors appointed in these Cases

   (the “Creditors’ Committee”) and (o) those parties who have requested notice pursuant

   to Bankruptcy Rule 2002 (collectively, the “Notice Parties”).

          No formal objections to the Motion or this Final Order having been filed, and the

   Final Hearing having been held by this Court on August 2, 2012.

          Upon the record made by the Debtors at the Interim Hearing and at the Final

   Hearing and after due deliberation and consideration and sufficient cause appearing

   therefor;

          IT IS FOUND, DETERMINED, ORDERED AND ADJUDGED, that:

          1.     Disposition. The Motion is granted in accordance with the terms of this

   Final Order. Any informal objections to the Motion with respect to the entry of this Final

   Order that have not been withdrawn, waived or settled, and all reservations of rights

   included therein, are hereby denied and overruled.

          2.     Jurisdiction. This Court has core jurisdiction over the Cases, this Motion,

   and the parties and property affected hereby pursuant to 28 U.S.C. §§ 157(b) and 1334.

          3.     Notice. Notice of the Motion, the relief requested therein, the Interim

   Hearing, the Interim Order, and the Final Hearing was served by the Debtors on the

   Notice Parties as described herein. Under the circumstances, the notice given by the

                                               7
12-12900-scc     Doc 275       Filed 08/03/12 Entered 08/03/12 17:58:02              Main Document
                                           Pg 8 of 63




   Debtors of the Motion, the relief requested therein, the Interim Hearing, the Interim

   Order, and the Final Hearing constitutes appropriate, due and sufficient notice thereof,

   and complies with Bankruptcy Rules 4001(b) and (c) and the SDNY Local Rules. No

   further notice of the relief sought at the Final Hearing and the relief granted herein is

   necessary or required.

          4.      Debtors’ Stipulations. Without prejudice to the rights of any other party

   (but which rights are subject to the limitations thereon contained in Paragraphs 19 and 20

   hereof), the Debtors admit, stipulate and agree that:

                  (a)       Pre-Petition Debt. As of the filing of the Debtors’ chapter 11

   petitions (the “Petition Date”), the Borrower was indebted and liable, without defense,

   counterclaim or offset of any kind: (i) to the lenders under that certain Amended and

   Restated Credit Agreement, dated as of May 5, 2010 (as heretofore amended,

   supplemented or otherwise modified, the “Pre-Petition Credit Agreement”), among the

   Borrower, the lenders and issuers of letters of credit (the “Pre-Petition Credit

   Agreement Lenders”), Bank of America, N.A., as administrative agent for the Pre-

   Petition Credit Agreement Lenders (in such capacity, the “Pre-Petition Agent”), in the

   aggregate principal amount of approximately $25,000,000 in respect of outstanding

   Swing Line Loans (the “Outstanding Swing Line Loans”), and                       approximately

   $300,760,433.55 million in respect of Roll Up Letters of Credit, and (ii) to the lenders

   under that certain Receivables Purchase Agreement, dated as of March 2, 2010 (as

   heretofore   amended,      supplemented   or       otherwise   modified,   the   “Pre-Petition

   Securitization Facility”) between the Borrower, the lenders from time to time party

                                                  8
12-12900-scc    Doc 275     Filed 08/03/12 Entered 08/03/12 17:58:02           Main Document
                                        Pg 9 of 63




   thereto (the “Pre-Petition Securitization Lenders”), and Fifth Third Bank as

   Administrator and LC Bank (in such capacities the “Pre-Petition Securitization

   Administrator”), in the aggregate principal amount of approximately $51,804,289 in

   respect of outstanding letters of credit (the “Securitization Letters of Credit”), in each

   case, pursuant to, and in accordance with the terms of, the Pre-Petition Credit Agreement

   or Pre-Petition Securitization Facility (such agreements, together with the mortgages and

   all other documentation executed in connection therewith (including, for the avoidance of

   doubt, any Secured Hedge Agreements and Secured Cash Management Agreements

   (each as defined in the Pre-Petition Credit Agreement)), collectively, the “Pre-Petition

   Agreements”), plus, in each case, interest thereon and fees, expenses (including any

   attorneys’, accountants’, appraisers’, and financial advisors’ fees that are chargeable or

   reimbursable under the Pre-Petition Agreements), charges and other obligations incurred

   in connection therewith as provided in the Pre-Petition Agreements (collectively, the

   “Pre-Petition Debt”), (x) the Pre-Petition Debt constitutes the legal, valid, and binding

   obligation of the Debtors, enforceable in accordance with the terms of the Pre-Petition

   Agreements (other than in respect of the stay of enforcement arising from section 362 of

   the Bankruptcy Code), (y) no portion of the Pre-Petition Debt is subject to avoidance,

   recharacterization, recovery or subordination pursuant to the Bankruptcy Code or

   applicable nonbankruptcy law, and (z) the Debtors do not have any claims,

   counterclaims, causes of action, defenses, or setoff rights, whether arising under the

   Bankruptcy Code or otherwise, against (i) the Pre-Petition Credit Agreement Lenders, or

   (ii) the Pre-Petition Securitization Lenders ((i) and (ii) collectively, the “Pre-Petition

                                               9
12-12900-scc     Doc 275      Filed 08/03/12 Entered 08/03/12 17:58:02              Main Document
                                          Pg 10 of 63




   Secured Lenders”), the Pre-Petition Agent, the Pre-Petition Securitization Administrator

   or their respective affiliates, agents, officers, directors, employees, and attorneys;

                  (b)     Pre-Petition Liens. The liens and security interests granted to the

   Pre-Petition Agent and the Pre-Petition Securitization Administrator pursuant to and in

   connection with the Pre-Petition Financing Agreements (including, without limitation, all

   security agreements, pledge agreements, mortgages, deeds of trust and other security

   documents executed by any of the Debtors in favor of the Pre-Petition Agent or the Pre-

   Petition Securitization Administrator, for their respective benefits and for the benefit of

   the respective Pre-Petition Secured Lenders) (the “Pre-Petition Liens”) are (i) valid,

   binding, perfected, enforceable, first-priority liens and security interests in the personal

   and real property described in the Pre-Petition Financing Agreements (the “Pre-Petition

   Collateral”), and (ii) not subject to avoidance, recharacterization, or subordination

   pursuant to the Bankruptcy Code or applicable nonbankruptcy law;

                  (c)     the aggregate value of the Pre-Petition Collateral substantially

   exceeds the aggregate amount of the Pre-Petition Debt; and

                  (d)     the Commitment Letter (as defined below) expired by its own

   terms prior to the Petition Date; and the Debtors are not aware of any valid claims or

   causes of action, whether arising under the Bankruptcy Code or otherwise, against the

   Pre-Petition Joint Lead Arrangers (as defined below) arising out of or relating to the

   Commitment Letter.

          5.      Findings Regarding the Financing.

                  (a)     Good cause has been shown for the entry of this Final Order.

                                                 10
12-12900-scc    Doc 275      Filed 08/03/12 Entered 08/03/12 17:58:02           Main Document
                                         Pg 11 of 63




                  (b)    The Debtors need to obtain the full amount of the Financing and

   use Cash Collateral in order to permit, among other things, the orderly continuation of the

   operation of their businesses, to maintain business relationships with vendors, suppliers,

   and customers, to make payroll, to make capital expenditures, to refinance certain Pre-

   Petition Debt, and to satisfy other working capital and operational needs. The access of

   the Debtors to sufficient working capital and liquidity through the use of Cash Collateral,

   incurrence of new indebtedness for borrowed money and other financial accommodations

   is vital to the preservation and maintenance of the going concern values of the Debtors

   and to a successful reorganization of the Debtors.

                  (c)    The Debtors are unable to obtain financing on more favorable

   terms from sources other than the DIP Lenders pursuant to the DIP Documents (as

   defined below) and are unable to obtain adequate unsecured credit allowable pursuant to

   section 503(b)(1) of the Bankruptcy Code as an administrative expense. The Debtors are

   also unable to obtain secured credit allowable pursuant to sections 364(c)(1), 364(c)(2),

   and 364(c)(3) of the Bankruptcy Code without the Debtors (i) granting to the DIP Agents

   and the DIP Lenders, subject to the Carve Out as provided for herein, the DIP Liens and

   the Superpriority Claims (each as defined below) under the terms and conditions set forth

   in this Final Order and in the DIP Documents, as well as any and all other protections

   provided for herein and therein, (ii) refinancing the Pre-Petition Debt as described herein

   upon entry of this Final Order, such refinancing being a requirement by the DIP Agents

   for the Financing, and (iii) obtaining entry of an order of this Court providing that the

   Superpriority Claims, DIP Liens and any and all other protections set forth in this Final

                                               11
12-12900-scc     Doc 275      Filed 08/03/12 Entered 08/03/12 17:58:02            Main Document
                                          Pg 12 of 63




   Order and in the DIP Documents will not be affected by any subsequent reversal or

   modification of this Final Order, as provided in section 364(e) of the Bankruptcy Code.

                  (d)     The terms of the Financing and the use of Cash Collateral are fair

   and reasonable, reflect the Debtors’ exercise of prudent business judgment consistent

   with their fiduciary duties and constitute reasonably equivalent value and fair

   consideration. The Debtors have further established that consummation of the Financing

   and the use of Cash Collateral in accordance with the provisions of this Final Order and

   the DIP Documents (as defined below) are in the best interests of the Debtors’ estates

   consistent with their fiduciary duties.

                  (e)     The Financing has been negotiated in good faith and at arm’s

   length among the Debtors, the DIP Agents, the Pre-Petition Agent, the Joint Lead

   Arrangers, and the DIP Lenders, and all of the Debtors’ obligations and indebtedness

   arising under, in respect of or in connection with the Financing and the DIP Documents,

   including without limitation, (i) all loans made to, and all letters of credit issued for the

   account of, the Debtors pursuant to the Superpriority Secured Debtor-in-Possession

   Revolving and Term Loan Credit Agreement attached as Exhibit A to the Motion (as may

   be amended from time to time, including pursuant to the provisions of this Final Order,

   the “First Out DIP Credit Agreement”) and the Amended and Restated Super Priority

   Secured Debtor-in-Possession Credit Agreement attached as Exhibit B to the Motion (as

   may be amended from time to time, including pursuant to the provisions of this Final

   Order, the “Second Out DIP Credit Agreement” and, together with the First Out DIP

   Credit Agreement, the “DIP Credit Agreements”), and (ii) any “Obligations” (as

                                                12
12-12900-scc    Doc 275       Filed 08/03/12 Entered 08/03/12 17:58:02          Main Document
                                          Pg 13 of 63




   defined in the DIP Credit Agreements) of the Debtors, in each case owing to either the

   DIP Agent, any L/C Issuer under either DIP Agreement (each a “DIP L/C Issuer” and,

   collectively, the “DIP L/C Issuers”), any DIP Lender or any their respective affiliates, in

   accordance with the terms of the DIP Documents (all of the foregoing in clauses (i) and

   (ii) collectively, the “DIP Obligations”), shall be deemed to have been extended by the

   DIP Agents, the DIP L/C Issuers and the DIP Lenders and their affiliates in good faith, as

   that term is used in section 364(e) of the Bankruptcy Code and in express reliance upon

   the protections offered by section 364(e) of the Bankruptcy Code, and the DIP Agents,

   the L/C Issuers, and the DIP Lenders (and the successors and assigns of each) shall be

   entitled to the full protection of section 364(e) of the Bankruptcy Code in the event that

   this Final Order or any provision hereof is vacated, reversed, or modified, on appeal or

   otherwise.

          6.      Authorization of the Financing, the DIP Documents, and the Refinancing

   of Pre-Petition Debt.

                  (a)      The Debtors were, by the Interim Order, and hereby are authorized

   to execute and enter into the DIP Documents, including the DIP Credit Agreements, and

   the DIP Documents are hereby approved. The Borrower was, by the Interim Order, and

   hereby is authorized to borrow money and obtain letters of credit pursuant to the DIP

   Credit Agreements, and the Guarantors were, by the Interim Order, and hereby are

   authorized to guarantee such borrowings and the Borrower’s obligations with respect to

   such letters of credit, up to an aggregate principal or face amount of $802,000,000 (which

   amounts are inclusive of any the borrowings authorized pursuant to the Interim Order,

                                               13
12-12900-scc     Doc 275     Filed 08/03/12 Entered 08/03/12 17:58:02             Main Document
                                         Pg 14 of 63




   plus interest, fees and other expenses and amounts provided for in the DIP Documents),

   consisting of borrowings of up to an aggregate principal or face amount of $125,000,000

   under the Revolving Credit Loan, $375,000,000 under the Term Loan, and up to

   $302,000,000 under the Second Out Facility, in accordance with the terms of this Final

   Order and the DIP Documents, which borrowings shall be used for the purposes

   permitted under the DIP Credit Agreements, including, without limitation, to refinance

   the Pre-Petition Debt as provided herein, to provide working capital for the Borrower and

   the Guarantors and to pay interest, fees and expenses in accordance with this Final Order

   and the DIP Documents. In addition to such loans and obligations, the Debtors were, by

   the Interim Order, and hereby are authorized to incur and pay in cash Obligations under

   Secured Cash Management Agreements and Obligations arising under Secured Hedge

   Agreements and the Credit Card Agreement (as defined below) (in each case whether

   incurred before or after the Petition Date) subject to the terms and limitations set forth in

   the First Out DIP Credit Agreement or Second Out DIP Credit Agreement, as applicable;

   provided, however, that nothing herein shall require the DIP Agents or any other party to

   provide any such services or functions to the Debtors.

                  (b)     Each Secured Hedge Agreement under the Pre-Petition Credit

   Agreement to which a Revolving Lender is a party was deemed, by the Interim Order,

   and hereby is deemed to be a Secured Hedge Agreement under the Revolving Facility,

   and the obligations arising thereunder shall (i) be paid in cash as and when due and (ii) up

   to an aggregate amount not to exceed $10,000,000 at any time, be secured by the

   Revolving Collateral and constitute Superpriority Claims (as defined below) equal in

                                                14
12-12900-scc    Doc 275     Filed 08/03/12 Entered 08/03/12 17:58:02           Main Document
                                        Pg 15 of 63




   priority to the Superpriority Claims of the Revolving Lenders, and (iii) with respect to

   obligations in excess of $10,000,000, constitute unsecured claims. All other Secured

   Hedge Agreements under the Pre-Petition Credit Agreement was deemed, by the Interim

   Order, and hereby shall be deemed Secured Hedge Agreements under the Second Out

   DIP Agreement, and all obligations arising thereunder shall (i) be paid in cash as and

   when due, and (ii) be secured by the Collateral securing the Obligations under the Second

   Out DIP Credit Agreement as provided in Paragraph 8 of this Final Order and the

   Security Agreement, and constitute Superpriority Claims equal in priority to the

   Superpriority Claims of other Second Out DIP Lenders.

                 (c)     In connection with the refinancing of certain of the Pre-Petition

   Debt, following the entry of the Interim Order and as part of the initial borrowing under

   the Financing, the Debtors used a portion of the proceeds from the Financing in

   accordance with the DIP Documents and the Interim Order to pay in cash to each of the

   Pre-Petition Agent and the Pre-Petition Securitization Administrator on account of all

   accrued and unpaid principal, interest, and fees on the Outstanding Swing Line Loan and

   the letter of credit fees on the Securitization Letters of Credit, each at the non-default

   rates provided for in the applicable Pre-Petition Financing Agreement, and all other

   accrued and unpaid fees and disbursements (including, but not limited to, fees owed to

   the Pre-Petition Agent and the Pre-Petition Securitization Administrator) owing to the

   Pre-Petition Agent and the Pre-Petition Securitization Administrator under the Pre-

   Petition Financing Agreements and incurred prior to the Petition Date, and such

   payments are hereby approved on a final basis.

                                              15
12-12900-scc     Doc 275     Filed 08/03/12 Entered 08/03/12 17:58:02             Main Document
                                         Pg 16 of 63




                  (d)     Each of the Pre-Petition Credit Agreement Lenders has purchased

   for the benefit of each L/C Issuer (as defined in the Pre-Petition Credit Agreement and,

   here, a “Rolled Up L/C Issuer”) an irrevocable and unconditional participation in the

   Roll Up Letters of Credit, each of which was issued for a term that extends automatically

   for successive one year terms unless notice of non-extension is given by the applicable

   Rolled Up L/C Issuer. Upon entry of this Final Order and approval by the Required

   Lenders (as defined in the Pre-Petition Credit Agreement): (i) the Pre-Petition Credit

   Agreement shall be deemed amended and restated in its entirety and replaced by the

   Second Out DIP Credit Agreement; (ii) all Roll Up Letters of Credit under the Pre-

   Petition Credit Agreement shall be deemed to have been issued and outstanding pursuant

   to the Second Out DIP Credit Agreement and shall constitute “Second Out Letters of

   Credit”; (iii) each Rolled Up L/C Issuer under the Pre-Petition Credit Agreement shall be

   deemed an “L/C Issuer” under, and as defined in, the Second Out DIP Credit Agreement

   and shall have all of the rights and obligations set forth therein; (iv) each Pre-Petition

   Credit Agreement Lender shall be deemed a Second Out DIP Lender under the Second

   Out Facility and shall have all rights and obligations thereof as set forth in the Second

   Out DIP Credit Agreement and shall be bound by the terms of the Security Agreement;

   and (v) without limiting the foregoing, all obligations of the Pre-Petition Credit

   Agreement Lenders with respect to Roll Up Letters of Credit, including, but not limited

   to, obligations (whether arising prior to or subsequent to the Petition Date) with respect to

   L/C Advances (as defined in the Pre-Petition Credit Agreement), reimbursement, renewal




                                                16
12-12900-scc     Doc 275        Filed 08/03/12 Entered 08/03/12 17:58:02          Main Document
                                            Pg 17 of 63




   and extension of the Roll Up Letters of Credit, shall remain in full force and effect, as set

   forth in the Second Out DIP Credit Agreement.

                  (e)     That certain Amended and Restated Citibank One Card Agreement

   by and between the Borrower and Citibank, N.A., dated as of July 9, 2012 (the “Credit

   Card Agreement”) was, by the Interim Order, and hereby is approved and the Debtors

   are authorized to perform thereunder, regardless of whether any obligations arising

   thereunder were incurred by the Debtors prior to or subsequent to the Petition Date.

                  (f)     In furtherance of the foregoing and without further approval of this

   Court, each Debtor was, by the Interim Order, and hereby is authorized and directed to

   perform all acts, to make, execute, and deliver all instruments and documents (including,

   without limitation, the execution or recordation of security agreements, mortgages, and

   financing statements), and to pay all fees that may be reasonably required or necessary

   for the Debtors’ performance of their obligations under the Financing (as provided for in

   the DIP Documents (as defined below); provided, however, that the fees payable to the

   Second Out DIP Agent under the DIP Documents are hereby reduced by $751,901.08,

   which amount shall be repaid by the Second Out DIP Agent to the Debtors upon entry of

   this Final Order), including, without limitation:

                          (i)      the execution, delivery, and performance of the DIP Credit

   Agreements, the other Loan Documents (as defined in the DIP Credit Agreements) and

   any exhibits attached thereto, including, without limitation, the Security Agreement, all

   related documents and any mortgages contemplated thereby and the Letter Agreements

   (as defined below) (collectively, the “DIP Documents”),

                                                17
12-12900-scc    Doc 275         Filed 08/03/12 Entered 08/03/12 17:58:02         Main Document
                                            Pg 18 of 63




                         (ii)      the execution, delivery, and performance of one or more

   amendments to or waivers of the requirements of the DIP Documents, including the DIP

   Credit Agreements for, among other things, the purpose of adding additional financial

   institutions as DIP Lenders and reallocating the commitments for the Financing among

   the DIP Lenders, in each case in such form as the Debtors, the applicable DIP Agent, and

   the applicable DIP Lenders may agree (it being (A) understood that no further approval

   of the Court shall be required for non-material amendments to the DIP Credit

   Agreements (and any fees paid in connection therewith) that do not shorten the maturity

   of the extensions of credit thereunder or increase the commitments, the rate of interest or

   the letter of credit fees payable thereunder, and (B) agree that, to the extent practicable,

   the Debtors shall provide prior written notice of any such non-material amendments to

   the Creditors’ Committee and, in any event, provide the Creditors’ Committee with

   notice of such non-material amendments and any fees related thereto within two business

   (2) days of their execution). Notwithstanding any other provision hereof, without further

   approval of this Court but subject to prior notice to the Creditors’ Committee,

   amendments to the DIP Documents may be made at any time on or prior to the 120th day

   after the Closing Date (as defined in the DIP Credit Agreements), as contemplated by the

   separate letter agreements entered into in connection with the Financing (as in effect on

   the date hereof, the “Letter Agreements”), including, without limitation, any amendment

   that is determined to be (1) reasonably necessary or advisable to facilitate a “successful

   syndication,” as contemplated by such separate letter agreements, (2) required because a

   “successful syndication” is not likely to be achieved by such date, with any such

                                               18
12-12900-scc     Doc 275      Filed 08/03/12 Entered 08/03/12 17:58:02         Main Document
                                          Pg 19 of 63




   amendment (including, without limitation, an increase in the rate of interest, with such

   increase not to exceed the amounts authorized by the Letter Agreements) being deemed

   effective as of the Closing Date, or (3) ministerial in nature;

                          (iii)   the non-refundable payment to the DIP Agents, the Joint

   Lead Arrangers and the DIP Lenders, as the case may be, of the fees and any amounts

   due in respect of indemnification obligations payable under the DIP Documents and

   reasonable costs and expenses as may be due thereunder from time to time, including,

   without limitation, fees and expenses of the professionals and industry consultants

   retained by the DIP Agents as provided for in the DIP Documents, without the need to

   file retention motions or fee applications, within 10 days after invoices therefor (the

   “Invoiced Fees”) are received by the Debtors, with copies to be delivered simultaneously

   to the U.S. Trustee and counsel to the Creditors’ Committee (the “Review Period”),

   which Invoiced Fees shall be sufficiently detailed to enable a determination as to the

   reasonableness thereof (without limiting the right of the various professionals as

   appropriate to exclude information that such professionals believe in good faith to be

   protected by the attorney-client privilege, the attorney work product doctrine or other

   privilege); provided that (a) the Debtors, the Creditors’ Committee and the United States

   Trustee shall have the right to dispute the payment of any portion of the Invoiced Fees by

   delivering to the DIP Agent prior to the expiration of the Review Period a written notice

   identifying the portion of the Invoiced Fees that is disputed by such party (the “Disputed

   Fees”) with a reasonably detailed description of the basis for the dispute; (b) after the

   expiration of the Review Period, the Debtors shall pay all Invoiced Fees other than any

                                                 19
12-12900-scc     Doc 275     Filed 08/03/12 Entered 08/03/12 17:58:02             Main Document
                                         Pg 20 of 63




   portion constituting Disputed Fees; and (c) any dispute with respect to Disputed Fees that

   the parties are unable to resolve on a consensual basis may be heard by the Court on a

   motion filed in accordance with the Case Management Order entered in these cases; and

                          (iv)   the performance of all other acts required under or in

   connection with the DIP Documents.

                  (g)     Upon execution and delivery of the DIP Documents, as per the

   provisions of the Interim Order, the DIP Documents constitute, and by the provisions of

   this Final Order shall constitute, valid and binding obligations of the Debtors, enforceable

   against each Debtor party thereto in accordance with the terms of the DIP Documents and

   this Final Order. No obligation, payment, transfer, or grant of security under the DIP

   Documents or this Final Order shall be stayed, restrained, voidable, or recoverable under

   the Bankruptcy Code or under any applicable law (including without limitation, under

   section 502(d) of the Bankruptcy Code), or subject to any defense, reduction, setoff,

   recoupment or counterclaim; provided, however, that, solely in the event that there is a

   timely successful challenge, pursuant and subject to the limitations contained in

   Paragraphs 19 and 20 of this Final Order, to the validity, enforceability, extent, perfection

   or priority of the Pre-Petition Debt or a determination that the Pre-Petition Debt was

   undersecured as of the Petition Date, the Court reserves the right to unwind or otherwise

   modify, after notice and hearing, any portion of the Pre-Petition Debt refinanced or rolled

   up hereunder (which might include the disgorgement or re-allocation of interest, fees,

   principal, or other incremental consideration paid in respect of the Pre-Petition Debt or

   the avoidance of liens and/or guarantees with respect to one or more of the Debtors solely

                                                20
12-12900-scc     Doc 275        Filed 08/03/12 Entered 08/03/12 17:58:02         Main Document
                                            Pg 21 of 63




   to the extent that the Court finds that, in light of such timely, successful challenge, the

   refinancing unduly advantaged the applicable Pre-Petition Secured Lenders; provided,

   however, that if any payment of any Pre-Petition Debt (including, without limitation, the

   payment of the Outstanding Swing Line Loan pursuant to the terms of this Final Order) is

   subsequently rescinded, avoided, disgorged or otherwise clawed back, such payments

   shall be immediately paid to the First Out DIP Agent for the benefit of the First Out DIP

   Lenders until such time as all F/O DIP Obligations (as defined below) are indefeasibly

   repaid in full in cash.

           7.      Superpriority Claims.

                   (a)       Pursuant to section 364(c)(1) of the Bankruptcy Code, all of the

   DIP Obligations shall constitute allowed claims against the Debtors (without the need to

   file any proof of claim) with priority over any and all administrative expenses, diminution

   claims (including any Adequate Protection Obligations (as defined below)), and all other

   claims against the Debtors, now existing or hereafter arising, of any kind whatsoever,

   including, without limitation, all administrative expenses of the kind specified in sections

   503(b) and 507(b) of the Bankruptcy Code, and over any and all administrative expenses

   or other claims arising under sections 105, 326, 328, 330, 331, 365, 503(b), 506(c),

   507(a), 507(b), 726, 1113, or 1114 of the Bankruptcy Code (the “Superpriority

   Claims”), whether or not such expenses or claims may become secured by a judgment

   lien or other non-consensual lien, levy or attachment, which allowed claims shall be

   payable from and have recourse to all pre- and post-petition property of the Debtors and

   all proceeds thereof, subject only to the payment of the Carve Out to the extent

                                                 21
12-12900-scc     Doc 275     Filed 08/03/12 Entered 08/03/12 17:58:02             Main Document
                                         Pg 22 of 63




   specifically provided for herein. The Superpriority Claims granted hereunder to the

   Revolving Lenders shall be pari passu with the Superpriority Claims granted hereunder

   to the Term Lenders. Subject to the provisions of Paragraph 18 of this Order, the

   Superpriority Claims granted hereunder to the Second Out DIP Lenders shall be

   immediately junior in priority and subject to the Superpriority Claims of the Revolving

   Lenders and the Term Lenders.

                  (b)     Carve Out. For purposes hereof, the “Carve Out” means (i) all

   fees required to be paid to the Clerk of the Bankruptcy Court and to the U.S. Trustee

   pursuant to section 1930(a) of title 28 of the United States Code and section 3717 of title

   31 of the United States Code, (ii) all reasonable fees and expenses incurred by a trustee

   under section 726(b) of the Bankruptcy Code in an amount not exceeding $200,000, and

   (iii) any and all allowed and unpaid claims of any professional of the Debtors or

   Creditors’ Committee whose retention is approved by the Bankruptcy Court during the

   Cases pursuant to sections 327 and 1103 of the Bankruptcy Code for unpaid fees and

   expenses (and the reimbursement of out-of-pocket expenses allowed by the Bankruptcy

   Court incurred by any members of the Creditors’ Committee (but excluding fees and

   expenses of third party professionals employed by such Creditors’ Committee members))

   incurred, subject to the terms of this Final Order, (A) prior to the occurrence of an Event

   of Default (as defined in the DIP Credit Agreement) and (B) at any time after the

   occurrence and during the continuance of an Event of Default in an aggregate amount not

   exceeding $7,000,000 relating to amounts in this subclause (B); provided, however, (x)

   that nothing herein shall be construed to impair the ability of any party to object to any of

                                                22
12-12900-scc     Doc 275     Filed 08/03/12 Entered 08/03/12 17:58:02             Main Document
                                         Pg 23 of 63




   the fees, expenses, reimbursement or compensation described in clauses (A) and (B)

   above, and (y) that cash or other amounts on deposit in the L/C Cash Collateral Account

   (as defined in the First Out DIP Credit Agreement) shall not be subject to the Carve Out.

          8.      DIP Liens. As security for the DIP Obligations, effective and perfected

   upon the date of the Interim Order and without the necessity of the execution, recordation

   of filings by the Debtors of mortgages, security agreements, control agreements, pledge

   agreements, financing statements or other similar documents, or the possession or control

   by the DIP Agents of, or over, the “Collateral” (as defined in the Security Agreement)

   and the proceeds, product, offspring or profits of same, the following security interests

   and liens are hereby granted as set forth below, subject only in the event of the

   occurrence and during the continuance of an Event of Default to the payment of the

   Carve Out (all such liens and security interests granted to the DIP Agents, for its benefit

   and for the benefit of the DIP Lenders, pursuant to this Final Order and the DIP

   Documents, the “DIP Liens”). All capitalized terms used but not otherwise expressly

   defined or referenced to another DIP Document in this Paragraph 8 shall have the

   meanings ascribed to them in the Security Agreement.

                  (a)     DIP Liens Granted to Revolving Agent for the Benefit of

   Revolving Lenders. Pursuant to sections 364(c)(2) and 364(d)(1) of the Bankruptcy

   Code, the Revolving Agent for the benefit of the Revolving Lenders is hereby granted

   (i) a valid, binding, continuing, enforceable, fully-perfected first priority senior security

   interest in and lien upon the Revolving Collateral and all proceeds, product, offspring, or

   profits of same, and (ii) a valid, binding, continuing, enforceable, fully-perfected first

                                                23
12-12900-scc     Doc 275     Filed 08/03/12 Entered 08/03/12 17:58:02             Main Document
                                         Pg 24 of 63




   priority security interest in and lien upon the Term Collateral and all proceeds, product,

   offspring, or profits of same.

                  (b)     DIP Liens Granted to the First Out Term Agent and Second Out

   DIP Agent for the Benefit of the Term Lenders and Second Out DIP Lenders. Pursuant

   to sections 364(c)(2) and 364(d)(1) of the Bankruptcy Code, the Term Agent, for the

   benefit of the Term Lenders, and the Second Out DIP Agent, for the benefit of the

   Second Out DIP Lenders, and subject to the Security Agreement, each are hereby granted

   (i) a valid, binding, continuing, enforceable, fully-perfected first priority senior security

   interest in and lien upon the Term Collateral and all proceeds, product, offspring, or

   profits of same, and (ii) a valid, binding, continuing, enforceable, fully-perfected second

   priority security interest in and lien upon the Revolving Collateral and all proceeds,

   product, offspring, or profits of same.

                  (c)     Application of Proceeds of DIP Liens. Notwithstanding the DIP

   Lien priority described in Paragraph 8(b) of this Final Order, all proceeds of Collateral

   shall be applied to the Obligations and paid to the DIP Lenders in accordance with the

   waterfall provisions set forth in Section 10.09 of the Security Agreement. Further, for the

   avoidance of doubt, to the extent not expressly set forth herein, all rights, priorities,

   remedies, and obligations as between the First Out DIP Agent and the Second Out DIP

   Agent and each of their respective DIP Lenders shall be governed by the express terms of

   the Security Agreement, which is approved in its entirety by this Final Order.

                  (d)     Excluded Avoidance Actions. The DIP Liens shall not attach to

   the Debtors’ claims and causes of action pursuant to sections 502(d), 544, 545, 547, 548,

                                                24
12-12900-scc     Doc 275      Filed 08/03/12 Entered 08/03/12 17:58:02             Main Document
                                          Pg 25 of 63




   549, and 550 of the Bankruptcy Code or any other avoidance actions under the

   Bankruptcy Code (collectively, “Excluded Avoidance Action Claims”), but, subject

   only to and effective upon entry of this Final Order, shall attach to any proceeds or

   property recovered whether by judgment, settlement or otherwise (“Avoidance

   Proceeds”). For the avoidance of doubt, other than as specifically provided for in

   Paragraph 18 of this Order, the Superpriority Claims are payable from and have recourse

   to the Avoidance Proceeds of the Excluded Avoidance Action Claims.

                  (e)     Liens Junior to the DIP Liens. Pursuant to section 364(c)(3) of the

   Bankruptcy Code, the DIP Lenders are hereby granted a valid, binding, continuing,

   enforceable, fully-perfected security interest in and lien upon all pre- and post-petition

   property of the Debtors (other than the property described in clause (a) or (b) of this

   Paragraph 8, as to which the liens and security interests in favor of the DIP Agents will

   be as described in such clauses) that is subject to valid, perfected, and unavoidable liens

   in existence immediately prior to the Petition Date, or to any valid and unavoidable liens

   in existence immediately prior to the Petition Date that are perfected subsequent to the

   Petition Date as permitted by section 546(b) of the Bankruptcy Code, which security

   interests and liens in favor of the DIP Agents are junior to such valid, perfected, and

   unavoidable liens.

                  (f)     Other Liens. The DIP Liens and the Adequate Protection Liens (as

   defined below) shall not be subject or subordinate to (i) any lien or security interest that is

   avoided and preserved for the benefit of the Debtors and their estates under section 551

   of the Bankruptcy Code or (ii) unless otherwise provided for in the DIP Documents, any

                                                 25
12-12900-scc     Doc 275     Filed 08/03/12 Entered 08/03/12 17:58:02              Main Document
                                         Pg 26 of 63




   liens arising after the Petition Date including, without limitation, any liens or security

   interests granted in favor of any federal, state, municipal, or other governmental unit

   (including any regulatory body), commission, board, or court for any liability of the

   Debtors.

                  (g)     Specified Contracts. Notwithstanding anything to the contrary in

   the Motion, the DIP Documents, the Interim Order, or this Final Order, for purposes of

   this Final Order, in no event shall the Collateral include or the DIP Liens granted under

   this Final Order attach to, any lease, license, contract, or agreement or other property

   right, to which any Debtor is a party, or any of such relevant Debtor’s rights or interests

   thereunder, if and for so long as the grant of such security interest would constitute or

   result in: (x) the abandonment, invalidation, unenforceability, or other impairment of any

   right, title, or interest of any Debtor therein, or (y) in a breach or termination pursuant to

   the terms of, or a default under, any such lease, license, contract, agreement, or other

   property right pursuant to any provision thereof, unless, in the case of each of clauses (x)

   and (y), the applicable provision is rendered ineffective by applicable non-bankruptcy

   law or the Bankruptcy Code (such leases, licenses, contracts or agreements, or other

   property rights are collectively referred to as the “Specified Contracts”); provided that,

   the foregoing shall not preclude any counterparty to a Specified Contract from an

   opportunity to be heard in this Court on notice with respect to whether applicable non

   bankruptcy law or the Bankruptcy Code renders such provision ineffective.

   Notwithstanding the foregoing, the DIP Liens shall in all events attach to all proceeds,




                                                26
12-12900-scc    Doc 275      Filed 08/03/12 Entered 08/03/12 17:58:02            Main Document
                                         Pg 27 of 63




   products, offspring, or profits from all sales, transfers, dispositions, or monetizations of

   any and all Specified Contracts.

          9.      Real Property Leases. As a requirement and precondition to the DIP

   Lenders’ willingness to lend and in furtherance of the Superpriority Claims provided for

   in Paragraph 7of this Final Order and pursuant to the DIP Documents, which are payable

   from and have recourse to all of the Debtors’ pre- and post-petition property including,

   among other things, all of the Debtors’ Real Property Leases (as defined in the First Out

   DIP Credit Agreement), the First Out DIP Lenders shall have the following protections

   with respect to the Debtors’ Real Property Leases, regardless of whether any particular

   Real Property Lease or group of Real Property Leases constitutes Collateral, which

   protections shall be enforced by the First Out DIP Agent as authorized, approved, and

   granted pursuant to the provisions of this Final Order and in accordance with the terms of

   the First Out DIP Credit Agreement, provided, however, that upon the indefeasible

   repayment in full in cash of all DIP Obligations owed to the First Out DIP Lenders

   pursuant to the applicable DIP Documents (the “F/O DIP Obligations”) and in

   accordance with the provisions of this Final Order, the Second Out DIP Lenders shall

   then be deemed to have the protections afforded the First Out DIP Lenders under this

   Paragraph 9 with respect to the Real Property Leases, which protections shall then be

   enforced by the Second Out DIP Agent as authorized, approved, and granted pursuant to

   the provisions of this Final Order and, at such time, all references to the First Out DIP

   Agent and the First Out DIP Lenders solely in the following subparagraphs of this




                                               27
12-12900-scc    Doc 275         Filed 08/03/12 Entered 08/03/12 17:58:02          Main Document
                                            Pg 28 of 63




   Paragraph 9 shall be deemed substituted in their entirety by reference to the Second Out

   DIP Agent or the Second Out DIP Lenders, as applicable:

                 (a)     Remedies Upon an Event of Default. If an Event of Default shall

   have occurred and be continuing, the First Out DIP Agent shall, with respect to any Real

   Property Lease or group of Real Property Leases to which any of the Debtors are party,

   be permitted, and is hereby authorized, approved, and granted:

                         (i)       to exercise the Debtors’ rights pursuant to section 365(f) of

                 the Bankruptcy Code with respect to any such Real Property Lease(s) and,

                 subject to this Court’s approval after notice and hearing, assign any such

                 Real Property Lease(s) in accordance with section 365 of the Bankruptcy

                 Code notwithstanding any language to the contrary in any of the

                 applicable lease documents or executory contracts;

                         (ii)      to require any Debtor to complete promptly, pursuant to

                 Section 363 of the Bankruptcy Code, subject to the rights of the First Out

                 DIP Lenders to credit bid, a Disposition (as defined in the First Out DIP

                 Credit Agreement) of any such Real Property Lease(s) in one or more

                 parcels at public or private sales, at any of the First Out DIP Agent’s

                 offices or elsewhere, for cash, at such time or times and at such price or

                 prices and upon such other terms as the First Out DIP Agent may deem

                 commercially reasonable;




                                                28
12-12900-scc   Doc 275      Filed 08/03/12 Entered 08/03/12 17:58:02              Main Document
                                        Pg 29 of 63




                      (iii)    access to the leasehold interests of the Debtors or debtors-

               in-possession in any such Real Property Lease(s) for the purpose of

               marketing such property or properties for sale;

                      (iv)     (a) find an acceptable (in the First Out DIP Agent’s good

               faith and reasonable discretion) replacement lessee, which may include the

               First Out DIP Agent or any of its affiliates, to whom such Real Property

               Lease(s) may be assigned, (b) hold, and manage all aspects of, an auction

               or other bidding process to find such acceptable replacement lessee, (c) in

               connection with any such auction, agree, on behalf of the Loan Parties (as

               defined in the DIP Credit Agreements), to reimburse reasonable fees and

               expenses of any stalking horse bidder, if necessary, and/or (d) notify the

               Debtors of the selection of any replacement lessee pursuant to this

               Paragraph 9(a), upon receipt of which the Debtors shall promptly (1) file a

               motion seeking, on an expedited basis, approval of the Debtors’

               assumption and assignment of such Real Property Lease(s) to such

               proposed assignee, and (2) cure any defaults, if any, that have occurred

               and are continuing under such Real Property Lease(s) to the extent

               required by the Court (subject to the First Out DIP Lenders’ right to cure

               defaults as set forth in Paragraph 9(e) of this Final Order); or

                      (v)      direct the Debtors to (a) assign any such Real Property

               Lease(s) to the First Out DIP Agent and First Out DIP Lenders as

               Collateral securing the DIP Obligations, subject to clause (b), if

                                             29
12-12900-scc    Doc 275     Filed 08/03/12 Entered 08/03/12 17:58:02            Main Document
                                        Pg 30 of 63




                 applicable, (b) seek this Court’s approval of the assumption of any such

                 Real Property Lease(s) to the extent that this Court determines pursuant to

                 a final order that an assumption is required in order to assign such lease or

                 leases as Collateral, and (c) promptly cure any default that has occurred

                 and is continuing under such Real Property Lease(s) to the extent required

                 by the Court; provided that any assignment of any such Real Property

                 Lease(s) as Collateral securing the DIP Obligations shall not impair the

                 Debtors’ ability to subsequently assume (if not already assumed) and

                 assign such Real Property Lease(s) pursuant to section 365 of the

                 Bankruptcy Code or to enjoy the protections of section 365(f) of the

                 Bankruptcy Code with respect to any such assignment.

                 (b)     Right to Credit Bid. Prior to any assignment of any Real Property

   Lease or group of Real Property Leases, the Debtors shall first provide at least five (5)

   business days’ prior written notice (the “Initial Notice Period”) to the First Out DIP

   Agent (unless such notice provision is waived by the First Out DIP Agent), which Initial

   Notice Period may be extended up to a further twenty-five (25) days by the First Out DIP

   Agent in its sole discretion by delivering written notice of such extension to the Debtors

   prior to expiration of the Initial Notice Period, and by any further period as is mutually

   agreeable between the First Out DIP Agent and the Borrower (such notice period being

   the “Aggregate Notice Period”). During such notice period, the First Out DIP Agent, on

   behalf of the applicable First Out DIP Lenders, shall be permitted to credit bid

   forgiveness of some or all of the outstanding F/O DIP Obligations (in an amount equal to

                                              30
12-12900-scc    Doc 275      Filed 08/03/12 Entered 08/03/12 17:58:02            Main Document
                                         Pg 31 of 63




   at least the consideration offered by any other party in respect of such assignment)

   outstanding under the Term Loan as consideration in exchange for any such Real

   Property Lease(s); provided that to the extent the Borrower is entitled to retain a portion

   of the total consideration paid in respect of such assignment in accordance with the First

   Out DIP Credit Agreement, the applicable portion of the consideration shall be paid in

   cash. In addition, in connection with the exercise of any of the First Out DIP Agent’s

   rights pursuant to the DIP Credit Agreements or this Final Order to direct or compel a

   sale or assignment of any Real Property Lease(s), the First Out DIP Agent, on behalf of

   the applicable First Out DIP Lenders, shall be permitted to credit bid forgiveness of some

   or all of the outstanding First Out DIP Obligations (in an amount equal to at least the

   consideration offered by any other party in respect of such sale or assignment) as

   consideration in exchange for such Real Property Lease(s). Pursuant to section 364(e) of

   the Bankruptcy Code, absent a stay pending appeal, the First Out DIP Lenders’ right to

   credit bid shall not be affected by the reversal or modification on appeal of the Debtors’

   authorization pursuant to this Final Order to obtain credit and incur debt as and in

   accordance with the terms set forth herein.

                  (c)    Right of First Refusal with Respect to Proposed Assignments and

   Rejections of Real Property Leases. Unless all DIP Obligations shall have indefeasibly

   been satisfied in full in cash (and, with respect to outstanding letters of credit issued or

   deemed issued pursuant to the DIP Credit Agreements, cash collateralized in accordance

   with the provisions of the DIP Credit Agreements), the Debtors shall not seek, and it shall

   constitute, an Event of Default and terminate the right of the Debtors to use Cash

                                                 31
12-12900-scc     Doc 275     Filed 08/03/12 Entered 08/03/12 17:58:02             Main Document
                                         Pg 32 of 63




   Collateral if any of the Debtors seeks, the assignment or other sale of, or the rejection or

   other termination of, or if there is entered an order pursuant to section 365 of the

   Bankruptcy Code assigning or rejecting, any Real Property Lease or group of Real

   Property Leases, or if any Real Property Lease or group of Real Property Leases is

   deemed rejected due to the expiration of the assumption period provided for in Section

   365(d)(4) (the “Statutory Rejection Date”), without the Debtors’ first providing thirty

   (30) days’ prior written notice to the First Out DIP Agent (unless such notice requirement

   is waived by the First Out DIP Agent in its sole discretion), or if such notice is given

   more than thirty (30) days in advance of the Statutory Rejection Date, prior written notice

   at least equal to the Aggregate Notice Period; provided, however, that the right of first

   refusal of the First Out DIP Lenders as set forth in this subparagraph (c) shall not apply to

   (x) any assignment or sale of a Real Property Lease or group of Real Property Leases to a

   winning bidder at an auction authorized by this Court, (y) any assignment or sale of a

   Real Property Lease or group of Real Property Leases from one Debtor that is a Loan

   Party (as defined in the DIP Credit Agreements) to another Debtor that is a Loan Party

   (provided, however, that such intra-Debtor assignment shall be subject to the notice

   provisions set forth in this subparagraph (c)), or (z) so long as there has not occurred an

   Event of Default or that an Event of Default is ongoing, any assignment or sale of a Real

   Property Lease or group of Real Property Leases that are not Material Leases generating

   Net Cash Proceeds up to $20,000,000 in the aggregate value for all such sales or

   assignments. During such notice period, the First Out DIP Agent shall be permitted to:




                                                32
12-12900-scc   Doc 275       Filed 08/03/12 Entered 08/03/12 17:58:02          Main Document
                                         Pg 33 of 63




                      (i)       (a) notify the Debtors that it elects to take action pursuant

               to this Paragraph 9(c), upon receipt of which the Debtors shall promptly

               withdraw any previously filed rejection motion, (b) find an acceptable (in

               the First Out DIP Agent’s good faith and reasonable discretion)

               replacement lessee, which may include the First Out DIP Agent or any of

               its affiliates, to whom any such any Real Property Lease or group of Real

               Property Leases may be assigned, (c) hold, and manage all aspects of, an

               auction or other bidding process to find such acceptable replacement

               lessee, (d) in connection with any such auction, agree, on behalf of the

               Loan Parties, to reimburse the reasonable fees and expenses of any

               stalking horse bidder, if necessary, and (e) notify the Debtors of the

               selection of any replacement lessee pursuant to this Paragraph 9(c), upon

               receipt of which the Debtors shall (1) not seek to reject any such Real

               Property Lease(s), (2) promptly withdraw any pending motion to reject

               any such Real Property Lease(s), (3) promptly file a motion seeking, on an

               expedited basis, approval of the Debtors’ assumption and assignment of

               such Real Property Lease(s) to the DIP Lenders’ proposed assignee, and

               (4) promptly cure any defaults that have occurred and are continuing

               under such Real Property Lease(s) to the extent required by the Court; or

                      (ii)      direct the Debtors to (a) assign any Real Property Lease or

               group of Real Property Leases as Collateral securing the DIP Obligations,

               (b) seek the Court’s approval of the assumption of any such Real Property

                                             33
12-12900-scc     Doc 275     Filed 08/03/12 Entered 08/03/12 17:58:02              Main Document
                                         Pg 34 of 63




                  Lease(s) if it is determined pursuant to a final order of this Court that an

                  assumption is required in order to assign such lease(s) as Collateral, and

                  (c) promptly cure any defaults that have occurred and are continuing under

                  such Real Property Lease(s) (subject to the First Out DIP Lenders’ right to

                  cure defaults as set forth in Paragraph 9(d) of this Final Order) to the

                  extent required by the Court; provided that any assignment of any Real

                  Property Lease(s) as Collateral securing the First Out DIP Obligations

                  shall not impair the Debtors’ ability to subsequently assume (if not already

                  assumed) and assign any such Real Property Lease(s) pursuant to section

                  365 of the Bankruptcy Code or to enjoy the protections of section 365(f)

                  of the Bankruptcy Code with respect to any such assignment.

          Notwithstanding anything to the contrary herein, the foregoing right of the First

   Out DIP Agent set forth in this Paragraph 9(c) shall not apply to Real Property Leases

   that are rejected, terminated, sold, or assigned (i) pursuant to a filing made on the Petition

   Date or (ii) on the Effective Date of an Acceptable Reorganization Plan (as defined in the

   First Out DIP Credit Agreement) that, among other things, indefeasibly repays the DIP

   Obligations in full and replaces Cash Collateral for all outstanding Letters of Credit (as

   defined in the DIP Credit Agreements) as required by the DIP Documents. For the

   avoidance of doubt, on or prior to the thirtieth (30) day prior to the Statutory Rejection

   Date (as provided in Section 365(d)(4) of the Bankruptcy Code), the Debtors shall have

   delivered written notice to the First Out DIP Agent of each outstanding Real Property

   Lease that they intend to reject (including, without limitation, through statutory rejection

                                                34
12-12900-scc      Doc 275    Filed 08/03/12 Entered 08/03/12 17:58:02            Main Document
                                         Pg 35 of 63




   on the Statutory Rejection Date) from and after the date of such notice (or, if applicable,

   notice that the Debtors have obtained the applicable landlord’s consent to extension of

   the Statutory Rejection Date); provided that if the Debtors fail to deliver any such notice

   to the First Out DIP Agent prior to such date with respect to any such Real Property

   Lease(s) (or a notice indicating that no such Real Property Lease(s) shall be rejected), the

   Debtors shall be deemed, for all purposes hereunder, to have delivered notice to the First

   Out DIP Agent as of such date that they intend to reject all outstanding Real Property

   Leases.

                  (d)    Assumption Orders.         Any order of this Court approving the

   assumption of any Real Property Lease shall specifically provide that the applicable

   Debtor shall be authorized to assign such Real Property Lease pursuant to, and to enjoy

   the protections of, section 365(f) of the Bankruptcy Code subsequent to the date of such

   assumption. To the extent that such provision is for any reason not included in any order

   of the Court approving the assumption of any Real Property Lease, then such Real

   Property Lease may not be assumed by the applicable Debtor unless the order approving

   the assumption provides for the assignment of such Real Property Lease, on the date of

   such order, to an acceptable (in the First Out DIP Agent’s good faith and reasonable

   discretion) replacement lessee (which may include the First Out DIP Agent or its

   affiliates).

                  (e)    DIP Lenders’ Right to Cure Defaults. If any of the Debtors is

   required to cure any monetary defaults under any Real Property Lease pursuant to any

   order of this Court or otherwise in connection with any assumption or assumption and

                                               35
12-12900-scc     Doc 275     Filed 08/03/12 Entered 08/03/12 17:58:02              Main Document
                                         Pg 36 of 63




   assignment of any such Real Property Lease pursuant to section 365(f) of the Bankruptcy

   Code, and such monetary default is not, within five (5) business days of the receipt by

   such Debtor of notice from the First Out DIP Agent pursuant to the applicable

   provision(s) of the First Out DIP Credit Agreement or any other notice from the First Out

   DIP Agent requesting the cure of such monetary default, cured in accordance with the

   provisions of such applicable court order as arranged by the First Out DIP Agent, the

   First Out DIP Agent may cure any such monetary defaults on behalf of the applicable

   Debtor(s).

          10.     Protection of DIP Lenders’ Rights.

                  (a)     So long as there are any borrowings or letters of credit or other

   amounts (other than contingent indemnity obligations as to which no claim has been

   asserted when all other amounts have been indefeasibly paid in full in cash and no letters

   of credit are outstanding) outstanding, or the DIP Lenders have any Commitments (as

   defined in the DIP Credit Agreements) under the DIP Credit Agreements, the Pre-Petition

   Agent and the Pre-Petition Credit Agreement Lenders shall (i) have no right to and take

   no action to foreclose upon or recover in connection with the liens granted thereto

   pursuant to the Pre-Petition Financing Agreements or this Final Order, or otherwise seek

   to exercise or exercise any enforcement rights or remedies against any Collateral or in

   connection with any Adequate Protection Liens or on account of any claims, (ii) be

   deemed to have consented to any transfer, disposition, or sale of, or release of liens on,

   Collateral, to the extent such transfer, disposition, sale, or release is authorized under the

   DIP Documents, (iii) not file any financing statements, trademark filings, copyright

                                                36
12-12900-scc     Doc 275      Filed 08/03/12 Entered 08/03/12 17:58:02             Main Document
                                          Pg 37 of 63




   filings, mortgages, notices of lien or similar instruments, or otherwise take any action to

   perfect their security interests in the Collateral unless, solely as to this clause (iii), the

   DIP Lenders file financing statements or other documents to perfect the liens granted

   pursuant to this Final Order, or as may be required by applicable state law to continue the

   perfection of valid and unavoidable liens or security interests as of the Petition Date, and

   (iv) deliver or cause to be delivered, at the Debtors’ cost and expense, any termination

   statements, releases and/or assignments in favor of the DIP Lenders or other documents

   necessary to effectuate and/or evidence the release, termination and/or assignment of

   liens on any portion of the Collateral subject to any sale or disposition. After the

   refinancing in full of all Securitization L/Cs, the Debtors are authorized to file any

   termination statements, releases, or other documents necessary to effectuate and/or

   evidence the release and termination of the Pre-Petition Securitization Administrator’s

   liens on or security interest in any portion of the Pre-Petition Collateral; and upon

   refinancing of the Securitization L/Cs (including, without limitation, their cash

   collateralization), all liens securing all assets (including proceeds, product, offspring or

   profits of same) pledged thereunder shall be fully released and become part of the

   Revolving Collateral.

                  (b)      Consistent with the provisions set forth in section 9.03 of the First

   Out DIP Credit Agreement and Section 8.02 of the Second Out DIP Credit Agreement

   (but subject to the terms of the Security Agreement), the automatic stay provisions of

   section 362 of the Bankruptcy Code are vacated and modified to the extent necessary

   upon the occurrence of an Event of Default (as defined in the DIP Documents) so as to

                                                37
12-12900-scc    Doc 275      Filed 08/03/12 Entered 08/03/12 17:58:02            Main Document
                                         Pg 38 of 63




   permit the DIP Agents and the DIP Lenders to, among other things, immediately declare

   (1) the commitment of the DIP Lenders as to the Financing to be terminated, whereupon

   such commitments and obligation shall be terminated; (2) all DIP Obligations

   immediately due and owing, without presentment, demand, protest or other notice of any

   kind, all of which are hereby expressly waived by the Borrower; (3) require any Loan

   Party (as defined in the DIP Credit Agreements) to promptly complete, pursuant to

   Section 363 and 365 of the Bankruptcy Code, subject to the rights of the DIP Lenders to

   credit bid, a Disposition (as defined in the DIP Credit Agreements) of its Real Property

   Leases or any portion thereof in one or more parcels at public or private sales, at any of

   the applicable DIP Agent’s offices or elsewhere, for cash, at such time or times and at

   such price or prices and upon such other terms as the applicable DIP Agent may deem

   commercially reasonable; and (4) exercise any of their rights with respect to Real

   Property Leases under Paragraph 9 hereof; provided however, that with respect to any

   enforcement of DIP Liens or remedies (including, all remedies that may be enforced

   pursuant to Paragraph 9(a) of this Final Order) other than those expressly set forth in

   subsections (1) and (2) of this sentence, the applicable DIP Agent shall provide the

   Borrower (with a copy to counsel for the Creditors’ Committee and to the U.S. Trustee)

   with seven (7) days’ prior written notice prior to taking the actions contemplated thereby.

   In any hearing regarding any exercise of rights or remedies, the only issue that may be

   raised by any party in opposition thereto shall be whether, in fact, an Event of Default has

   occurred and is continuing, and the Debtors and the Pre-Petition Secured Lenders shall

   not be entitled to seek relief, including, without limitation, under section 105 of the

                                               38
12-12900-scc     Doc 275     Filed 08/03/12 Entered 08/03/12 17:58:02             Main Document
                                         Pg 39 of 63




   Bankruptcy Code, to the extent that such relief would in any way impair or restrict the

   rights and remedies of the DIP Agents or the DIP Lenders set forth in this Final Order or

   the DIP Documents. In no event shall the DIP Agents or the DIP Lenders be subject to

   the equitable doctrine of “marshaling” or any similar doctrine with respect to the

   Collateral.

                  (c)     No rights, protections, or remedies of the DIP Agents or the DIP

   Lenders granted by the provisions of this Final Order or the DIP Documents shall be

   limited, modified, or impaired in any way by (i) any actual or purported withdrawal of

   the consent of any party to the Debtors’ authority to use Cash Collateral, (ii) any actual or

   purported termination of the Debtors’ authority to use Cash Collateral, or (iii) the terms

   of this Final Order or any other order or stipulation related to the Debtors’ use of Cash

   Collateral or the provision of adequate protection to any party.

          11.     Limitation on Charging Expenses Against Collateral. Except to the extent

   of the Carve Out, no expenses of administration of the Cases or any future proceeding

   that may result therefrom, including liquidation in bankruptcy or other proceedings under

   the Bankruptcy Code, shall be charged against or recovered from the Collateral pursuant

   to section 506(c) of the Bankruptcy Code or any similar principle of law without the prior

   written consent of the applicable DIP Agent or the Pre-Petition Agent (solely with respect

   to Cash Collateral), as the case may be, and no such consent shall be implied from any

   other action, inaction, or acquiescence by the DIP Agents, the DIP Lenders, the Pre-

   Petition Agent or the Pre-Petition Credit Agreement Lenders.




                                                39
12-12900-scc     Doc 275     Filed 08/03/12 Entered 08/03/12 17:58:02             Main Document
                                         Pg 40 of 63




          12.     The Cash Collateral. The Pre-Petition Collateral includes cash collateral

   within the meaning of section 363(a) of the Bankruptcy Code. To the extent that any

   funds were on deposit with any Pre-Petition Credit Agreement Lender as of the Petition

   Date, including, without limitation, all funds deposited in, or credited to, an account of

   any Debtor with any Pre-Petition Credit Agreement Lender immediately prior to the

   filing of the Debtors’ bankruptcy petitions (the “Pre-Petition Period”) (regardless of

   whether, as of the Pre-Petition Period, such funds had been collected or made available

   for withdrawal by any such Debtor), then such funds (the “Deposited Funds”) are

   subject to rights of setoff. By virtue of such setoff rights, the Deposited Funds are subject

   to a lien in favor of such Pre-Petition Credit Agreement Lender pursuant to sections

   506(a) and 553 of the Bankruptcy Code, which is subordinate to the First Out DIP

   Lenders’ senior interests in the Deposited Funds as set forth in the Security Agreement.

   The Pre-Petition Credit Agreement Lenders are obligated, to the extent provided in the

   Pre-Petition Financing Agreements, to share the benefit of such liens and setoff rights

   with the other Pre-Petition Credit Agreement Lenders pursuant to and in accordance with

   the Pre-Petition Financing Agreements. Any proceeds of the Pre-Petition Collateral

   (including the Deposited Funds or any other funds on deposit at the Pre-Petition Credit

   Agreement Lenders or at any other institution as of the Petition Date) are cash collateral

   of the Pre-Petition Credit Agreement Lenders within the meaning of section 363(a) of the

   Bankruptcy Code. The Deposited Funds, together with such other cash collateral of any

   of the Pre-Petition Credit Agreement Lenders within the meaning of section 363(a) of the




                                                40
12-12900-scc      Doc 275     Filed 08/03/12 Entered 08/03/12 17:58:02          Main Document
                                          Pg 41 of 63




   Bankruptcy Code (including, without limitation, all proceeds of Pre-Petition Collateral)

   are collectively referred to herein as “Cash Collateral.”

            13.     Use of Cash Collateral. The Debtors are hereby authorized, subject to the

   terms and conditions of the DIP Documents and this Final Order, to use all Cash

   Collateral, and each of the Pre-Petition Credit Agreement Lenders is directed promptly to

   turn over to the Debtors all Cash Collateral received or held by them; provided that the

   Pre-Petition Credit Agreement Lenders are granted adequate protection as hereinafter set

   forth.

            14.     Adequate Protection.   The Pre-Petition Credit Agreement Lenders are

   entitled, pursuant to sections 361, 363(e), and 364(d) of the Bankruptcy Code, to

   adequate protection of their interest in the Collateral, for and equal in amount to the

   aggregate diminution in the value of the Pre-Petition Credit Agreement Lenders’ interest

   in the Collateral, including, without limitation, any such diminution resulting from the

   sale, lease, or use by the Debtors (or other decline in value) of Collateral, and the

   imposition of the automatic stay pursuant to section 362 of the Bankruptcy Code. As

   adequate protection, the Pre-Petition Agent and the Pre-Petition Credit Agreement

   Lenders are hereby granted the following (collectively, the “Adequate Protection

   Obligations”):

                    (a)    Adequate Protection Liens. The Pre-Petition Agent (for itself and

   for the benefit of the Pre-Petition Credit Agreement Lenders) is hereby granted (effective

   and perfected upon the date of this Final Order and without the necessity of the execution

   by the Debtors of mortgages, security agreements, pledge agreements, financing

                                               41
12-12900-scc     Doc 275     Filed 08/03/12 Entered 08/03/12 17:58:02              Main Document
                                         Pg 42 of 63




   statements, or other agreements), in the amount of such diminution, a replacement

   security interest in and lien upon all the Collateral, subject and subordinate only to (i) the

   security interests and liens granted to the DIP Agents for the benefit of the DIP Lenders

   in this Final Order and pursuant to the DIP Documents and any liens on the Collateral to

   which such liens so granted to the DIP Agents are junior, and (ii) the Carve Out (such

   liens securing the Adequate Protection Obligations, the “Adequate Protection Liens”).

                  (b)     Preservation of Pre-Petition Liens. To the extent replacement liens

   are not available, the liens granted to the Pre-Petition Credit Agreement Lenders under

   the terms of the Pre-Petition Credit Agreement shall continue in full force and effect and

   shall continue to secure the Obligations of the Debtors under the Pre-Petition Credit

   Agreement, regardless of whether such Obligations were rolled up in the Second Out

   Facility and such liens held by the Pre-Petition Agent shall be held in accordance with the

   provisions of the Security Agreement for the benefit of the First Out DIP Lenders or the

   Second Out DIP Lenders, as applicable.

                  (c)     Section 507(b) Claim. The Pre-Petition Agent and the Pre-Petition

   Credit Agreement Lenders are hereby granted, subject to the Carve Out, a superpriority

   claim, as provided for in section 507(b) of the Bankruptcy Code, immediately junior to

   the claims under section 364(c)(1) of the Bankruptcy Code held by the DIP Agents and

   the DIP Lenders; provided, however, that the Pre-Petition Agent and the Pre-Petition

   Credit Agreement Lenders shall not receive or retain any payments, property or other

   amounts in respect of the superpriority claims under section 507(b) of the Bankruptcy




                                                42
12-12900-scc      Doc 275       Filed 08/03/12 Entered 08/03/12 17:58:02          Main Document
                                            Pg 43 of 63




   Code granted hereunder unless and until the DIP Obligations have indefeasibly been paid

   in cash in full.

           15.        Sufficiency of Adequate Protection. Under the circumstances and given

   that the above-described adequate protection is consistent with the Bankruptcy Code,

   including section 506(b) thereof, the Court finds that the adequate protection provided

   herein is reasonable and sufficient to protect the interests of the Pre-Petition Credit

   Agreement Lenders. Except as expressly provided herein or in the DIP Documents,

   nothing contained in this Final Order (including, without limitation, the authorization of

   the use of any Cash Collateral) shall impair or modify any rights, claims, or defenses

   available in law or equity to the Pre-Petition Agent, any Pre-Petition Credit Agreement

   Lender, the DIP Agents, or any DIP Lender including, without limitation, rights of a

   party to a swap agreement, securities contract, commodity contract, forward contract, or

   repurchase agreement with a Debtor to assert rights of setoff or other rights with respect

   thereto as permitted by law (or the right of a Debtor to contest such assertion).

           16.        Perfection of DIP Liens and Adequate Protection Liens.

                      (a)    Subject to the provisions of Paragraph 10(a) of this Final Order,

   the DIP Agents, the DIP Lenders, the Pre-Petition Agent, and the Pre-Petition Credit

   Agreement Lenders are hereby authorized, but not required, to file or record financing

   statements, patent filings, trademark filings, copyright filings, mortgages, notices of lien

   or similar instruments in any jurisdiction, or take possession of or control over assets, or

   take any other action, in each case, in order to validate and perfect the liens and security

   interests granted to them hereunder. Whether or not the DIP Agents on behalf of the DIP

                                                 43
12-12900-scc     Doc 275      Filed 08/03/12 Entered 08/03/12 17:58:02             Main Document
                                          Pg 44 of 63




   Lenders or the Pre-Petition Agent on behalf of the Pre-Petition Credit Agreement Lenders

   shall, each in their respective sole discretion, choose to file such financing statements,

   patent filings, trademark filings, copyright filings, mortgages, notices of lien or similar

   instruments, or take possession of or control over, or otherwise confirm perfection of the

   liens and security interests granted to it hereunder, such liens and security interests shall

   be deemed valid, perfected, allowed, enforceable, non-avoidable, and not subject to

   challenge, dispute, or subordination, at the time and on the date of entry of this Final

   Order. Upon the request of the DIP Agents, the Pre-Petition Agent, without any further

   consent of any party, is authorized and directed to take, execute, deliver, and file such

   instruments (in each case, without representation or warranty of any kind) to enable the

   DIP Agents to further validate, perfect, preserve, and enforce the DIP Liens.

                  (b)      A certified copy of this Final Order may, in the discretion of either

   DIP Agent, be filed with or recorded in filing or recording offices in addition to or in lieu

   of such financing statements, mortgages, notices of lien or similar instruments, and all

   filing offices are hereby authorized to accept such certified copy of this Final Order for

   filing and recording.

                  (c)      The Debtors shall execute and deliver to the DIP Agents all such

   agreements, financing statements, instruments and other documents as the DIP Agents

   may reasonably request to evidence, confirm, validate, or perfect the DIP Liens.

          17.     Preservation of Rights Granted Under This Final Order.

                  (a)      No claim or lien having a priority superior to or pari passu with

   those granted by this Final Order to the DIP Agents and the DIP Lenders or to the Pre-

                                                44
12-12900-scc    Doc 275      Filed 08/03/12 Entered 08/03/12 17:58:02            Main Document
                                         Pg 45 of 63




   Petition Agent, and the Pre-Petition Credit Agreement Lenders, respectively, shall be

   granted or allowed while any portion of the Financing (or any refinancing thereof) or the

   Commitments thereunder or the DIP Obligations or any Adequate Protection Obligations

   remain outstanding, and the DIP Liens and the Adequate Protection Liens shall not be

   (i) subject or junior to any lien or security interest that is avoided and preserved for the

   benefit of the Debtors’ estates under section 551 of the Bankruptcy Code or

   (ii) subordinated to or made pari passu with any other lien or security interest, whether

   pursuant to section 364(d) of the Bankruptcy Code or otherwise. For the avoidance of

   doubt, no lien or security interest shall be granted to any other party in any of the

   Specified Contracts without first granting such lien or security interest to the DIP Agents,

   which shall be deemed Term or Second Out Collateral.

                  (b)     Under no circumstances, and in accordance with the provisions of

   the DIP Documents, shall the Cases be dismissed unless the F/O DIP Obligations shall

   have been indefeasibly paid in full in cash (and/or, with respect to outstanding letters of

   credit issued or deemed issued pursuant to the First Out DIP Credit Agreement, cash

   collateralized in accordance with the provisions thereof); provided, moreover, that in the

   event of such dismissal, the Pre-Petition Liens, DIP Liens, and Adequate Protection Liens

   held by the Pre-Petition Lenders shall remain in full force and effect, with all rights and

   remedies attendant thereto. In addition, unless all DIP Obligations shall have been

   indefeasibly paid in full in cash (and, with respect to outstanding letters of credit issued

   or deemed issued pursuant to the DIP Credit Agreements, cash collateralized in

   accordance with the provisions of the DIP Credit Agreements) and the Adequate

                                               45
12-12900-scc     Doc 275     Filed 08/03/12 Entered 08/03/12 17:58:02              Main Document
                                         Pg 46 of 63




   Protection Obligations (if any) shall have been paid in full, the Debtors shall not seek,

   and it shall constitute an Event of Default and terminate the right of the Debtors to use

   Cash Collateral if any of the Debtors seeks, or if there is entered, (i) any modification or

   extension of this Final Order without the prior written consent of the DIP Agents, and no

   such consent shall be implied by any other action, inaction, or acquiescence by the DIP

   Agents, (ii) an order converting or dismissing any of the Cases, (iii) an order appointing a

   chapter 11 trustee in any of the Cases, or (iv) an order appointing an examiner with

   enlarged powers in any of the Cases. If an order dismissing any of the Cases under

   section 1112 of the Bankruptcy Code or otherwise is at any time entered, such order shall

   provide (in accordance with sections 105 and 349 of the Bankruptcy Code) that (i) the

   Superpriority Claims, liens, security interests, and replacement security interests granted

   to the DIP Agents and the DIP Lenders and, as applicable, the Pre-Petition Agent and the

   Pre-Petition Credit Agreement Lenders, pursuant to this Final Order shall continue in full

   force and effect and shall maintain their priorities as provided in this Final Order until all

   DIP Obligations and the Adequate Protection Obligations (if any) shall have been paid

   and satisfied in full (and that such Superpriority Claims, liens, and replacement security

   interests, shall, notwithstanding such dismissal, remain binding on all parties in interest)

   and (ii) this Court shall retain jurisdiction, notwithstanding such dismissal, for the

   purposes of enforcing the claims, liens, and security interests referred to in clause (i)

   above.

                  (c)     If any or all of the provisions of this Final Order are hereafter

   reversed, modified, vacated, or stayed, such reversal, modification, vacation, or stay shall

                                                46
12-12900-scc     Doc 275     Filed 08/03/12 Entered 08/03/12 17:58:02             Main Document
                                         Pg 47 of 63




   not affect (i) the validity of any DIP Obligations or Adequate Protection Obligations

   incurred prior to the actual receipt of written notice by the DIP Agents or the Pre-Petition

   Agent, as applicable, of the effective date of such reversal, modification, vacation, or stay

   or (ii) the validity or enforceability of any lien, priority, or other right authorized or

   created hereby or pursuant to the DIP Documents with respect to any DIP Obligations or

   Adequate Protection Obligations.      Notwithstanding any such reversal, modification,

   vacation, or stay, or any use of Cash Collateral, or DIP Obligations or Adequate

   Protection Obligations incurred by the Debtors to the DIP Agents, the DIP Lenders, the

   Pre-Petition Agent, or the Pre-Petition Credit Agreement Lenders prior to the actual

   receipt of written notice by the DIP Agents and the Pre-Petition Agent of the effective

   date of such reversal, modification, vacation, or stay shall be governed in all respects by

   the original provisions of this Final Order, and the DIP Agents, the DIP Lenders, the Pre-

   Petition Agent, and the Pre-Petition Credit Agreement Lenders shall be entitled to all the

   rights, remedies, privileges, and benefits granted in section 364(e) of the Bankruptcy

   Code (including, without limitation, in respect of any payments received in connection

   with the refinancing of the Pre-Petition Debt), this Final Order and pursuant to the DIP

   Documents with respect to all uses of Cash Collateral and proceeds of the Financing, DIP

   Obligations, and the Adequate Protection Obligations.

                  (d)     Except as expressly provided in this Final Order or in the DIP

   Documents, the DIP Liens, the Superpriority Claims and all other rights and remedies of

   the DIP Agents and the DIP Lenders, and the Adequate Protection Liens granted by the

   provisions of this Final Order and the DIP Documents shall survive, and shall not be

                                                47
12-12900-scc       Doc 275   Filed 08/03/12 Entered 08/03/12 17:58:02          Main Document
                                         Pg 48 of 63




   modified, impaired, or discharged by (i) the entry of an order converting any of the Cases

   to a case under chapter 7, dismissing any of the Cases, terminating the joint

   administration of these Cases, or by any other act or omission, (ii) the entry of an order

   approving the sale of any Collateral pursuant to section 363(b) of the Bankruptcy Code

   (except to the extent permitted by the DIP Documents), or (iii) the entry of an order

   confirming a plan of reorganization in any of the Cases and, pursuant to section

   1141(d)(4) of the Bankruptcy Code, the Debtors have waived any discharge as to any

   remaining DIP Obligations. The terms and provisions of this Final Order and the DIP

   Documents shall continue in these Cases, in any successor cases if these Cases cease to

   be jointly administered, or in any superseding chapter 7 cases under the Bankruptcy

   Code, and the DIP Liens, the Superpriority Claims, all other rights and remedies of the

   DIP Agents and the DIP Lenders granted by the provisions of this Final Order (including,

   without limitation, with respect to the rights of the DIP Agents, as applicable, as to the

   Debtors’ Real Property Leases as set forth in Paragraph 9 of this Final Order) and the DIP

   Documents shall continue in full force and effect (and be binding on any successor in

   interest to the debtors-in-possession) until the DIP Obligations are indefeasibly paid in

   full in cash.

           18.     Recourse of Certain Superpriority and Adequate Protection Claims to

   Specific Proceeds. Notwithstanding any other provision of this Final Order: (i) neither

   the Superpriority Claims of the Second Out DIP Lenders nor any Adequate Protection

   Claims of the Pre-Petition Secured Parties shall be payable from Avoidance Proceeds, if

   any, resulting from Claims or Defenses successfully asserted by the Creditors' Committee

                                              48
12-12900-scc       Doc 275   Filed 08/03/12 Entered 08/03/12 17:58:02             Main Document
                                         Pg 49 of 63




   against the Pre-Petition Secured Parties in their capacities as such with respect to the Pre-

   Petition Credit Agreement; and (ii) no Superpriority Claims of the Pre-Petition Joint Lead

   Arrangers held in connection with their holdings in the First Out DIP Facility as of the

   completion and the closing of the syndication of the First Out Facility (which completion

   and closing shall be deemed to have occurred prior to the entry of this Final Order) shall

   be payable from proceeds, if any, of Claims and Defenses successfully asserted by the

   Creditors' Committee against the Pre-Petition Joint Lead Arrangers with respect to the

   Commitment Letter (as defined below); provided however, that the provisions of this

   paragraph 18 shall not modify or otherwise relieve the Debtors of their obligations to pay

   all DIP Obligations and Adequate Protection Obligations to all of the DIP Lenders

   (including the Pre-Petition Joint Lead Arrangers) on a pro rata basis from any other

   source.

             19.   Effect of Stipulations on Third Parties. The stipulations and admissions

   contained in this Final Order, including, without limitation, in Paragraph 4 of this Final

   Order, shall be binding upon the Debtors and any successor thereto (including, without

   limitation, any chapter 7 or chapter 11 trustee appointed or elected for any of the Debtors)

   in all circumstances. The stipulations and admissions contained in this Final Order,

   including, without limitation, in Paragraph 4 of this Final Order, shall be binding upon all

   other parties in interest, including, without limitation, any statutory or nonstatutory

   committees appointed or formed in these Cases (including the Creditors’ Committee) and

   any other person or entity acting on behalf of the Debtors’ estates, unless (a) a party in

   interest has timely filed an adversary proceeding or contested matter (subject to the

                                                49
12-12900-scc     Doc 275      Filed 08/03/12 Entered 08/03/12 17:58:02             Main Document
                                          Pg 50 of 63




   limitations contained herein, including, inter alia, in Paragraph 20 of this Final Order) by

   the date that is ninety (90) days after entry of this Final Order or such later date (x) as has

   been agreed to, in writing, by the Pre-Petition Agent, the Pre-Petition Securitization

   Administrator, or the Pre-Petition Joint Lead Arrangers, as the case may be, and, as

   applicable, in its sole discretion or (y) as has been ordered by the Court (the “Challenge

   Deadline”), (i) challenging the validity, enforceability, priority, or extent of the Pre-

   Petition Debt or the Pre-Petition Agent’s, the Pre-Petition Securitization Administrator’s,

   or the Pre-Petition Secured Lenders’ liens on the Pre-Petition Collateral or (ii) otherwise

   asserting or prosecuting any (A) action for preferences, fraudulent conveyances, other

   avoidance power claims, or any other claims, counterclaims or causes of action,

   objections, contests, or defenses against the Pre-Petition Agent, the Pre-Petition

   Securitization Administrator, any of the Pre-Petition Secured Lenders, or their affiliates,

   representatives, attorneys, or advisors (the “Pre-Petition Secured Parties”) in

   connection with matters related to the Pre-Petition Financing Agreements, the Pre-

   Petition Debt or the Pre-Petition Collateral, as applicable or (B) any causes of action

   against Citigroup Global Markets Inc., Barclays Bank PLC, or Natixis, New York Branch

   (the “Pre-Petition Joint Lead Arrangers”) arising in connection with the commitment

   letter (the “Commitment Letter”) referenced in the Motion ((A) and (B) together, the

   “Claims and Defenses”); provided, that if the Creditors’ Committee files a motion

   seeking standing to bring Claims or Defenses against any of the Pre-Petition Secured

   Parties or the Pre-Petition Joint Lead Arrangers prior to the Challenge Deadline, the

   Challenge Deadline shall be tolled until adjudication of such motion; and (b) there is a

                                                 50
12-12900-scc    Doc 275      Filed 08/03/12 Entered 08/03/12 17:58:02            Main Document
                                         Pg 51 of 63




   final order in favor of the plaintiff sustaining any such challenge or claim in any such

   timely filed adversary proceeding or contested matter; provided that any challenge or

   claim shall set forth with specificity the basis for such challenge or claim and any

   challenges or claims not so specified prior to the Challenge Deadline shall be forever

   deemed waived, released, and barred. If no such adversary proceeding or contested

   matter is timely filed, (w) the Pre-Petition Debt and all related obligations of the Debtors

   (the “Pre-Petition Obligations”) shall constitute allowed claims, not subject to

   counterclaim, setoff, subordination, recharacterization, defense, or avoidance, for all

   purposes in the Cases and any subsequent chapter 7 cases, (x) the Pre-Petition Agent’s

   liens, the Pre-Petition Securitization Administrator’s liens, and the Pre-Petition Secured

   Lenders’ liens on the Pre-Petition Collateral shall be deemed to have been, as of the

   Petition Date, legal, valid, binding and perfected, not subject to recharacterization,

   subordination, or avoidance, (y) the Pre-Petition Obligations, the Pre-Petition Agent’s,

   the Pre-Petition Securitization Administrator’s, and the Pre-Petition Secured Lenders’

   liens on the Pre-Petition Collateral and the Pre-Petition Agent, the Pre-Petition

   Securitization Administrator, the Pre-Petition Secured Lenders, and the Pre-Petition Joint

   Lead Arrangers shall not be subject to any other or further challenge by any party in

   interest seeking to exercise the rights of the Debtors’ estates, including, without

   limitation, any successor thereto (including, without limitation, any chapter 7 or 11

   trustee appointed or elected for any of the Debtors), and (z) the refinancing of the Pre-

   Petition Debt (including the L/C Roll Up) shall be irrevocable and shall not be subject to

   restitution, disgorgement, or any other challenge under any circumstances, including,

                                               51
12-12900-scc      Doc 275      Filed 08/03/12 Entered 08/03/12 17:58:02             Main Document
                                           Pg 52 of 63




   without limitation, pursuant to any Claims and Defenses (as defined above). If any such

   adversary proceeding or contested matter is timely filed, the stipulations and admissions

   contained in Paragraph 4 of this Final Order shall nonetheless remain binding and

   preclusive (as provided in the second sentence of this Paragraph 19) on any statutory or

   nonstatutory committees appointed or formed in these Cases (including the Creditors’

   Committee) and on any other person or entity, except to the extent that such findings and

   admissions were expressly challenged in such adversary proceeding or contested matter.

   Nothing in this Final Order vests or confers on any Person (as defined in the Bankruptcy

   Code), including any statutory or nonstatutory committees appointed or formed in these

   Cases (including the Creditors’ Committee), standing or authority to pursue any cause of

   action belonging to the Debtors or their estates, including, without limitation, Claims and

   Defenses with respect to the Pre-Petition Financing Agreements, the Commitment Letter,

   or the Pre-Petition Obligations. For the avoidance of doubt, none of the foregoing

   challenge provisions set forth in this Paragraph 19 shall apply to the First Out DIP

   Facility or the First Out DIP Lenders in their capacities as such, and in no event shall the

   First Out DIP Facility be subject to challenge on avoidance or any other grounds by any

   other party.

          20.     Limitation     on   Use    of        Financing   Proceeds   and    Collateral.

   Notwithstanding anything herein or in any other order by this Court to the contrary, no

   borrowings, letters of credit, Cash Collateral, Collateral, or the Carve Out may be used to

   (a) object, contest, or raise any defense to, the validity, perfection, priority, extent, or

   enforceability of any amount due under the DIP Documents or the Pre-Petition Financing

                                                  52
12-12900-scc     Doc 275     Filed 08/03/12 Entered 08/03/12 17:58:02              Main Document
                                         Pg 53 of 63




   Agreements, or the liens or claims granted under this Final Order, the DIP Documents or

   the Pre-Petition Financing Agreements, (b) assert any Claims and Defenses or causes of

   action against the DIP Agents, the DIP Lenders, the Pre-Petition Agent, the Pre-Petition

   Securitization Administrator, or the Pre-Petition Secured Lenders, or their respective

   agents, affiliates, representatives, attorneys, or advisors, (c) prevent, hinder, or otherwise

   delay the DIP Agents’, the Pre-Petition Agent’s, or the Pre-Petition Securitization

   Administrator’s assertion, enforcement, or realization on the Cash Collateral or the

   Collateral in accordance with the DIP Documents, the Pre-Petition Financing

   Agreements, or this Final Order, (d) seek to modify any of the rights granted to the DIP

   Agents, the DIP Lenders, the Pre-Petition Agent, the Pre-Petition Securitization

   Administrator, or the Pre-Petition Secured Lenders hereunder or under the DIP

   Documents or the Pre-Petition Financing Agreements, in each of the foregoing cases

   without such applicable parties’ prior written consent, or (e) pay any amount on account

   of any claims arising prior to the Petition Date unless such payments are (i) approved by

   an order of this Court and (ii) in accordance with the DIP Credit Agreements and the

   Budget as approved by the DIP Agents, each in its respective sole discretion.

   Notwithstanding the foregoing, advisors to the Creditors’ Committee may investigate and

   prepare (but not initiate or prosecute) any Claims and Defenses against any of the Pre-

   Petition Secured Parties or the Pre-Petition Joint Lead Arrangers, as applicable, in

   connection with matters related to the Pre-Petition Financing Agreements, the Pre-

   Petition Debt, the Pre-Petition Collateral or the Commitment Letter prior to the Challenge

   Deadline at an aggregate expense not to exceed $250,000.

                                                53
12-12900-scc    Doc 275        Filed 08/03/12 Entered 08/03/12 17:58:02          Main Document
                                           Pg 54 of 63




          21.     Priorities     Among     Pre-Petition     Credit    Agreement       Lenders.

   Notwithstanding anything to the contrary herein or in any other order of this Court, in

   determining the relative priorities and rights of the Pre-Petition Credit Agreement

   Lenders with respect to the Adequate Protection Obligations granted hereunder, such

   priorities and rights shall continue to be governed by the Pre-Petition Credit Agreement.

          22.     Maintenance of Letters of Credit. To the extent permitted by the DIP

   Documents, the Debtors are authorized to maintain and renew letters of credit issued or

   deemed issued under the DIP Credit Agreements on an uninterrupted basis, in accordance

   with the same practices and procedures as were in effect prior to the Petition Date, and to

   take all actions reasonably appropriate with respect thereto, on an uninterrupted basis and

   in accordance with the same practices and procedures as were in effect prior to the

   Petition Date, provided, however, that not later than two (2) business days after either the

   First Out DIP Agent or the Second Out DIP Agent, as applicable, directs any (a) First Out

   L/C Issuer not to permit the automatic extension of a Letter of Credit under the First Out

   DIP Facility, or (b) Rolled Up L/C Issuer not to permit the automatic extension of a Roll

   Up Letter of Credit under the Second Out DIP Facility, the First Out DIP Agent or the

   Second Out DIP Agent, as applicable, shall provide written notice of such direction to

   counsel for the Creditors’ Committee.


          23.     Consensual Plan Treatment in Respect of the Second Out Facility. To the

   extent any obligations under the Second Out Facility remain outstanding on the date of

   confirmation of any plan of reorganization for the Debtors under chapter 11 of the

   Bankruptcy Code (a “Plan”), such obligations shall be repaid in cash (or, in the case of
                                               54
12-12900-scc    Doc 275      Filed 08/03/12 Entered 08/03/12 17:58:02            Main Document
                                         Pg 55 of 63




   issued and outstanding Roll Up Letters of Credit, cash collateralized in an amount of at

   least 105% of the L/C Obligations (as defined in the Second Out DIP Agreement)) on the

   effective date of such Plan; provided, however, that notwithstanding anything to the

   contrary in this Final Order or the DIP Documents, the Second Out DIP Lenders may

   consent to a different treatment under a Plan, and such consent shall be deemed to have

   been given upon the affirmative vote of the Second Out DIP Lenders under the standards

   set forth in Section 1126(c) of the Bankruptcy Code, it being understood that the

   foregoing does not in any way change the payment priorities set forth in the Security

   Agreement.


          24.     Exculpation. Nothing in this Final Order, the DIP Documents, or any

   other documents related to these transactions shall in any way be construed or interpreted

   to impose or allow the imposition upon any DIP Agent, the Joint Lead Arrangers, or any

   DIP Lender any liability for any claims arising from the prepetition or postpetition

   activities of the Debtors in the operation of their businesses, or in connection with their

   restructuring efforts. So long as the DIP Agents and the DIP Lenders comply with their

   obligations under the DIP Documents and their obligations, if any, under applicable law

   (including the Bankruptcy Code), (a) the DIP Agents and the DIP Lenders shall not, in

   any way or manner, be liable or responsible for (i) the safekeeping of the Collateral,

   (ii) any loss or damage thereto occurring or arising in any manner or fashion from any

   cause, (iii) any diminution in the value thereof, or (iv) any act or default of any carrier,

   servicer, bailee, custodian, forwarding agency, or other person, and (b) all risk of loss,

   damage, or destruction of the Collateral shall be borne by the Debtors, so long as the DIP
                                               55
12-12900-scc     Doc 275     Filed 08/03/12 Entered 08/03/12 17:58:02            Main Document
                                         Pg 56 of 63




   Lenders' actions do not constitute, within the meaning of 42 U.S.C. § 9601 (20)(F), actual

   participation in the management or operational affairs of a vessel or facility owned or

   operated by a Debtor, or otherwise cause liability to arise to the federal or state

   government or the status of responsible person or managing agent to exist under

   applicable law.

          25.     Miscellaneous.

                  (a)     Nothing in this Final Order or the DIP Documents shall limit the

   Debtors’ obligations pursuant to 28 U.S.C. § 959(b). As to the United States, any State

   or municipality and any of the foregoing’s respective agencies, departments or agents,

   nothing in this Final Order or the DIP Documents shall discharge, release or otherwise

   preclude any valid right of setoff or recoupment that any such entity may have.

                  (b)     Any claim of a Debtor under Section 11.02 (a “First Out

   Contribution Claim”) or 11.03 (a “First Out Subrogation Claim”) of the First Out DIP

   Credit Agreement or Section 2.02 (a “Second Out Contribution Claim”; each of a First

   out Contribution Claim or a Second Out Contribution Claim, a “Contribution Claim”)

   or Section 2.03 (a “Second Out Subrogation Claim; each of a First Out Subrogation

   Claim or a Second Out Subrogation Claim, a “Subrogation Claim”) of the Amended and

   Restated Guarantee, dated as of July 11, 2012, between Patriot Coal Corporation and the

   Second Out Administrative Agent (the “Second Out Guarantee”) against any other

   Debtor that may arise during these Cases (including, but not limited to, by virtue of a

   mandatory prepayment of the DIP Obligations from the Net Cash Proceeds (as defined in

   the First Out DIP Credit Agreement or the Second Out DIP Credit Agreement) of a

                                               56
12-12900-scc     Doc 275     Filed 08/03/12 Entered 08/03/12 17:58:02             Main Document
                                         Pg 57 of 63




   disposition of such Debtor’s property or an Extraordinary Receipt (as defined in the First

   Out DIP Credit Agreement or the Second Out DIP Credit Agreement) shall constitute a

   superpriority administrative claim pursuant to Section 364(c)(1) of the Bankruptcy Code

   against each other Debtor that is liable in respect of such Contribution Claim or

   Subrogation Claim, in each case (a) junior and subordinate only to the DIP Liens and

   Superpriority Claims granted hereunder as security for the DIP Obligations, the Adequate

   Protection Liens granted hereunder and the Carve-Out and (b) pari passu with any

   superpriority administrative claims that may arise under the Final Order Authorizing (i)

   Debtors to Continue to Use Existing Cash Management System and Maintain Existing

   Bank Accounts and Business Forms and (ii) Financial Institutions to Honor and Process

   Related Checks and Transfers (“Cash Management Order”) on account of “Post-

   Petition Transfers” (as defined in the Cash Management Order). Notwithstanding

   anything to the contrary herein, the provisions of Section 11.03 of the First-Out DIP

   Credit Agreement and Section 2.03 of the Second Out Guarantee shall remain applicable

   to any such Contribution Claim or Subrogation Claim and, without limitation of the

   provisions of Section 11.03 and Section 2.03 of the Second Out Guarantee, no payment

   in respect to any such Contribution Claim or Subrogation Claim may be made until all

   DIP Obligations have been paid in full (or in the case of any letters of credit which shall

   remain outstanding, collateralized with cash or “back-to-back” letters of credit or

   otherwise supported) in each case, on terms satisfactory to the Administrative Agent.

                  (c)     Notice to the Creditors’ Committee. The Debtors shall provide to

   the Creditors’ Committee copies of the financial statements, reports and other written

                                                57
12-12900-scc    Doc 275        Filed 08/03/12 Entered 08/03/12 17:58:02        Main Document
                                           Pg 58 of 63




   information that the Debtors are expressly required to provide to the DIP Agents and the

   DIP Lenders pursuant to the DIP Credit Agreements as and when the Debtors provide

   such information to the DIP Agents and/or the DIP Lenders. Upon the receipt of any

   notice provided by the DIP Agents or the DIP Lenders to the Debtors under this Final

   Order or the DIP Documents, the Debtors shall promptly provide a copy of such notice to

   the Creditors’ Committee.

          26.    Amendments to the DIP Documents. This Final Order expressly amends

   the DIP Documents as follows:

                 (a)     The First Out DIP Credit Agreement.

                         (i)      The following defined terms “Applicable Rate”, “Change

                 of Control”, and “Extension Fee” are hereby amended and replaced in

                 their entirety as follows:

          “Applicable Rate” means (a) with respect to Revolving Credit Loans, (i) 3.25%
          per annum, in the case of Eurocurrency Rate Loans and Letters of Credit, (ii)
          2.25% per annum, in the case of Base Rate Loans and (iii) 0.75% per annum, in
          the case of Revolving Commitment Fees and (b) with respect to Term Loans,
          (i) 7.75% per annum, in the case of Eurocurrency Rate Loans and (ii) 6.75% per
          annum, in the case of Base Rate Loans and (iii) 0.75% per annum, in the case of
          Term Commitment Fees.

          “Change of Control” means:

                 (a)     an event or series of events by which any “person” or “group” (as
                 such terms are used in Sections 13(d) and 14(d) of the Securities Exchange
                 Act of 1934, but excluding any employee benefit plan of such person or its
                 subsidiaries, and any person or entity acting in its capacity as trustee,
                 agent or other fiduciary or administrator of any such plan) becomes the
                 “beneficial owner” (as defined in Rules 13d-3 and 13d-5 under the
                 Securities Exchange Act of 1934, directly or indirectly, of more than 50%
                 of the equity securities of the Borrower entitled to vote for members of the
                 board of directors or equivalent governing body of the Borrower on a

                                              58
12-12900-scc    Doc 275         Filed 08/03/12 Entered 08/03/12 17:58:02          Main Document
                                            Pg 59 of 63




                 fully-diluted basis; or

                 (b)      during any period of 12 consecutive months, a majority of the
                 members of the board of directors or other equivalent governing body of
                 the Borrower after the date of this Agreement cease to be composed of
                 individuals (i) who were members of that board or equivalent governing
                 body on the first day of such period, (ii) whose election or nomination to
                 that board or equivalent governing body was approved by individuals
                 referred to in clause (i) above constituting at the time of such election or
                 nomination at least a majority of that board or equivalent governing body
                 or (iii) whose election or nomination to that board or other equivalent
                 governing body was approved by individuals referred to in clauses (i) and
                 (ii) above constituting at the time of such election or nomination at least a
                 majority of that board or equivalent governing body (excluding, in the
                 case of both clause (ii) and clause (iii), any individual whose initial
                 nomination for, or assumption of office as, a member of that board or
                 equivalent governing body occurs as a result of an actual or threatened
                 solicitation of proxies or consents for the election or removal of one or
                 more directors by any person or group other than a solicitation for the
                 election of one or more directors by or on behalf of the board of directors).

          “Extension Fee” has the meaning specified in Section 2.10(c).

                         (ii)      Section 2.10(c) of the First Out DIP Credit Agreement is

                 hereby amended and replaced in its entirety as follows:

                         Extension Fee. If the Borrower elects, subject to the occurrence of
                         the Extension Date, to extend the Maturity Date of the Facilities,
                         the Borrower shall pay to the Administrative Agent for the account
                         of each Lender in accordance with its Applicable Percentage, an
                         extension fee (the “Extension Fee”) equal to 0.25% of the
                         aggregate Revolving Credit Commitments and Term Loans of all
                         Lenders outstanding on the Extension Date.

                 (b)     The Second Out DIP Credit Agreement. Section 2.01(g)(ii) of the

   Second Out DIP Credit Agreement is hereby amended and replaced in its entirety as

   follows:

                 Sections 2.01, 2.03, 2.04, 2.11 and 8.02 (a)(ii) set forth certain additional
                 requirements to deliver cash collateral hereunder. For purposes of this
                 Section 2.01, Section 2.03, Section 2.04, Section 2.11 and Section
                                                59
12-12900-scc    Doc 275      Filed 08/03/12 Entered 08/03/12 17:58:02            Main Document
                                         Pg 60 of 63




                  8.02(a)(ii), “Cash Collateralize” means to pledge to the Administrative
                  Agent and deposit in the Cash Collateral Account, for the benefit of the
                  each Issuer and the Lenders, as collateral for the L/C Obligations, cash or
                  deposit account balances in an amount of at least 103% of the L/C
                  Obligations pursuant to documentation in form and substance reasonably
                  satisfactory to the Administrative Agent and the relevant L/C Issuer
                  (which documents are hereby consented to by the Lenders).

          27.     Binding Effect; Successors and Assigns. The DIP Documents and the

   provisions of this Final Order, including all findings herein, shall be binding upon all

   parties in interest in these Cases, including, without limitation, the DIP Agents, the DIP

   Lenders, the Pre-Petition Agent, the Pre-Petition Joint Lead Arrangers, the Pre-Petition

   Securitization Administrator, the Pre-Petition Secured Lenders, any Committee appointed

   or formed in these Cases, and the Debtors and their respective successors and assigns

   (including any chapter 7 or chapter 11 trustee hereinafter appointed or elected for the

   estate of any of the Debtors) and shall inure to the benefit of the DIP Agents, the DIP

   Lenders, the Pre-Petition Agent, the Pre-Petition Securitization Administrator, the Pre-

   Petition Secured Lenders, and the Debtors and their respective successors and assigns;

   provided, however, that neither the DIP Agents nor the DIP Lenders shall have any

   obligation to extend any financing or credit to any chapter 7 trustee or similar responsible

   person appointed for the estates of the Debtors. In determining to make any loan under

   the DIP Credit Agreements or in exercising any rights or remedies as and when permitted

   pursuant to this Final Order or the DIP Documents, the DIP Agents and the DIP Lenders

   shall not be deemed to be in control of the operations of or participating in the

   management of the Debtors or to be acting as a “responsible person” or “owner or

   operator” with respect to the operation or management of the Debtors (as such terms or

                                               60
12-12900-scc      Doc 275       Filed 08/03/12 Entered 08/03/12 17:58:02           Main Document
                                            Pg 61 of 63




   any similar terms are used in the United States Comprehensive Environmental Response,

   Compensation and Liability Act, 29 U.S.C. §§ 9601, et seq., as amended, or any similar

   federal or state statute).

            28.    Effectiveness.   This Final Order shall constitute findings of fact and

   conclusions of law and shall take effect and be fully enforceable nunc pro tunc to the

   Petition Date immediately upon entry hereof.           Notwithstanding Bankruptcy Rules

   4001(a)(3), 6004(h), 6006(d), 7062, or 9024 or any other Bankruptcy Rule, or Rule 62(a)

   of the Federal Rules of Civil Procedure, this Final Order shall be immediately effective

   and enforceable upon its entry and there shall be no stay of execution or effectiveness of

   this Final Order.

            29.    Headings. Section headings used herein are for convenience only and are

   not to affect the construction of or to be taken into consideration in interpreting this Final

   Order.

            30.    The Interim Order. Except as specifically amended, supplemented or

   otherwise modified hereby, all of the provisions of the Interim Order shall remain in

   effect and are hereby ratified by this Final Order.

            31.    Final Order Governs. In the event of any inconsistency between the

   provisions of the Motion, this Final Order, the Interim Order, the Security Agreement,

   and the DIP Documents, the express provisions of this Final Order shall govern.




                                                61
12-12900-scc    Doc 275     Filed 08/03/12 Entered 08/03/12 17:58:02           Main Document
                                        Pg 62 of 63




          32.    Jurisdiction. This Court shall have exclusive jurisdiction with respect to

   any and all disputes or matters under, or arising out of or in connection with, either the

   DIP Documents or this Final Order.


   Dated: New York, New York
          August 3, 2012                       /s/ Shelley C. Chapman
                                               Honorable Shelley C. Chapman
                                               United States Bankruptcy Judge




                                              62
12-12900-scc   Doc 275   Filed 08/03/12 Entered 08/03/12 17:58:02   Main Document
                                     Pg 63 of 63




                                    Exhibit A

                                Security Agreement

                           [TO BE FILED SEPARATELY]
